      Case 1:25-cv-01363-DLB           Document 1      Filed 04/29/25   Page 1 of 69



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND



STATE OF MARYLAND,
   200 Saint Paul Place
   Baltimore, MD 21202

STATE OF DELAWARE,
   820 North French Street
   Wilmington, DE 19801

STATE OF CALIFORNIA,
   300 South Spring Street, Suite 1702
   Los Angeles, CA 90013

STATE OF COLORADO,
   1300 Broadway
   Denver, CO 80203

STATE OF ARIZONA,
   2005 North Central Avenue
   Phoenix, AZ 85004

STATE OF CONNECTICUT,                                  Civ. No. _______________
   165 Capitol Avenue
   Hartford, CT 06106

DISTRICT OF COLUMBIA,
   400 6th Street NW
   Washington, DC 20001

STATE OF HAWAI‘I,
   425 Queen Street
   Honolulu, HI 96813

STATE OF ILLINOIS,
   115 South LaSalle Street, 35th Floor
   Chicago, IL 60603

OFFICE OF THE GOVERNOR ex rel. Andy
Beshear, in his official capacity as Governor of the
COMMONWEALTH OF KENTUCKY,
   700 Capitol Avenue, Suite 106
   Frankfort, KY 40601
      Case 1:25-cv-01363-DLB          Document 1   Filed 04/29/25   Page 2 of 69




STATE OF MAINE,
   6 State House Station
   Augusta, ME 04333

COMMONWEALTH OF MASSACHUSETTS,
  1 Ashburton Place
  Boston, MA 02108

PEOPLE OF THE STATE OF MICHIGAN,
  3030 West Grand Boulevard, Suite 9-600
  Detroit, MI 48202

STATE OF MINNESOTA,
   445 Minnesota Street, Suite 1400
   Saint Paul, MN 55101

STATE OF NEVADA,
   555 East Washington Avenue,
   Las Vegas, NV 89101

STATE OF NEW JERSEY,
   25 Market Street
   Trenton, NJ 08625

STATE OF NEW MEXICO,
   P.O. Drawer 1508
   Santa Fe, NM 87504

STATE OF NEW YORK,
   28 Liberty Street
   New York, NY 10005

STATE OF NORTH CAROLINA,
   P.O. Box 629
   Raleigh, NC 27602

STATE OF OREGON,
   100 Southwest Market Street
   Portland, OR 97201

JOSH SHAPIRO, in his official capacity as
Governor of the COMMONWEALTH OF
PENNSYLVANIA,
   30 North 3rd Street, Suite 200

                                            2
       Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25     Page 3 of 69



    Harrisburg, PA 17101

 STATE OF RHODE ISLAND,
    150 South Main Street
    Providence, RI 02903

 STATE OF VERMONT,
    109 State Street
    Montpelier, VT 05609

 STATE OF WASHINGTON,
    2425 Bristol Court SW, Second Floor
    P.O. Box 40117
    Olympia, WA 98504

 STATE OF WISCONSIN,
    P.O. Box 7857
    Madison, WI 53707

                Plaintiffs,

        v.

 CORPORATION FOR NATIONAL AND
 COMMUNITY SERVICE, operating as
 AMERICORPS,
   250 E Street SW
   Washington, DC 20525

 JENNIFER BASTRESS TAHMASEBI, in her
 official capacity as Interim Head of the Corporation
 for National and Community Service,
     250 E Street SW
     Washington, DC 20525

                Defendants.


             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       1.     Since January 20, 2025, the Trump Administration has engaged in unprecedented

efforts to unilaterally dismantle federal programs, spending, and personnel without Congressional


                                               3
       Case 1:25-cv-01363-DLB           Document 1      Filed 04/29/25     Page 4 of 69



approval. Now this campaign has reached AmeriCorps, the federal agency for national service

and volunteerism.

       2.         AmeriCorps—officially, the Corporation for National and Community Service 1—

has operated as an independent agency of the federal government since 1993. AmeriCorps

members volunteer in the areas of disaster relief, economic opportunity, education, environmental

stewardship, community health, and veteran services. 2      Until the events described in this

complaint, AmeriCorps supported more than 200,000 members and volunteers with living stipends

and benefits each year and was managed by a staff of approximately 700 employees. 3

       3.         The Administration has begun efforts to dismantle AmeriCorps by releasing

members and volunteers, placing most agency staff on administrative leave in anticipation of

terminations, and cancelling contracts and grants. On April 15, at the behest of the so-called

Department of Government Efficiency (DOGE), AmeriCorps leadership placed all members

serving in the National Civilian Community Corps (NCCC) on administrative leave and notified

them that their participation in the program “w[ould] terminate” on April 30. See Memorandum

from Ken Goodson, NCCC National Director, AmeriCorps (Apr. 15, 2025), attached as Ex. A.

       4.         A cover email to the Goodson Memorandum stated: “In alignment with the Trump-

Vance Administration priorities and Executive Order 14222, ‘Implementing the President’s

“Department of Government Efficiency” Cost Efficiency Initiative,’ AmeriCorps NCCC is




       1
       By regulation, “[t]he Corporation for National and Community Service has adopted
AmeriCorps as its official agency operating name.” 45 C.F.R. § 2500.2(a).
       2
             AmeriCorps,       FY       2024       Annual     Management     Report            9,
https://www.americorps.gov/sites/default/files/document/AmeriCorps-FY24-Annual-
Management-Report.pdf.
       3
            See id. at 8.
                                                 4
       Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25      Page 5 of 69



working within new operational parameters that impact the program’s ability to sustain program

operations.” See Letter to All Members on Demobilization (Apr. 15, 2025), attached as Ex. B.

       5.      The following day, AmeriCorps placed 85% of its paid staff on administrative

leave. See Email from Jennifer Bastress Tahmasebi to AmeriCorps Board (Apr. 17, 2025),

attached as Ex. C; Memorandum from Jennifer Bastress Tahmasebi, Interim Agency Head,

AmeriCorps (Apr. 16, 2025), attached as Ex. D.

       6.      On April 24, AmeriCorps began to issue Reduction in Force (RIF) notices to

employees on administrative leave. See RIF Notice, attached as Ex. E. News reports indicate that

these RIFs will result in cuts to AmeriCorps’ workforce of “up to 50 percent or more.” 4

       7.      The following day, after business hours, Defendants began notifying State Service

Commissions that nearly $400 million worth of AmeriCorps programs were immediately

terminated.5 See Cancelled Programs Workbook, attached as Ex. F. Defendants’ notices informed

recipients that their programs “no longer effectuate[d] agency priorities”; that they “must

immediately cease all award activities”; that “[a]ll member activities should cease immediately”;

and that they “should document that [each] member was exited for compelling personal

circumstances due to the agency’s termination of the grant and program closure.” E.g., Del.

Termination Notice (AmeriCorps State and National), attached as Ex. G; Del. Termination Notice

(VISTA), attached as Ex. H.




       4
         Tobi Raji, AmeriCorps staff members placed on leave after DOGE visit, Wash. Post, Apr.
16, 2025, https://www.washingtonpost.com/nation/2025/04/16/americorps-cuts-doge-trump/.
       5
          Tobi Rajj, DOGE orders major cut to AmeriCorps funding, imperiling agency’s work,
Wash. Post, April 25, 2025, https://www.washingtonpost.com/nation/2025/04/25/americorps-
grant-cuts-doge/.
                                                 5
       Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25      Page 6 of 69



       8.       These terminations have received bipartisan criticism. U.S. Senator Bill Cassidy

(R-La.), for example, “object[ed] to cutting AmeriCorps grants like those that support Louisiana’s

veterans and organizations that provide crucial support after hurricanes and natural disasters.” 6

U.S. Senator Chris Coons (D-Del.), co-chair of the bipartisan National Service Caucus, wrote a

letter joined by 148 congressional colleagues that “urge[d] the administration to continue

implementing the statutory requirements of the national service laws” and expressed “grave

concerns that significant reductions in force will prevent AmeriCorps from being able to

effectively and efficiently award appropriated funding to programs operating in communities

across the country.”7

       9.       Defendants’ actions reflect and embody an unauthorized decision by the

Administration to dismantle AmeriCorps.

       10.      The Administration’s abrupt decision to dismantle AmeriCorps flouts Congress’s

creation of AmeriCorps and assignment of agency duties; usurps Congress’s power of the purse

and thereby violates the Constitution’s separation of powers; and arbitrarily and capriciously—

without any reasoned analysis—vitiates the agency’s ability to function consistent with its

statutory mission and purpose. It also violates a provision of AmeriCorps’ statutory appropriation

that requires the agency to make “significant changes to program requirements, service delivery

or policy only through public notice and comment rulemaking.” E.g., Further Consolidated

Appropriations Act, 2024, Pub. L. 118-47, § 401, 138 Stat. 460, 695 (Mar. 23, 2024).




       6
            https://x.com/SenBillCassidy/status/1915886202651349128.
       7
          Letter from U.S. Senator Christopher A. Coons, et al., to President Donald J. Trump
(Apr. 23, 2025), https://www.coons.senate.gov/imo/media/doc/americorps_rif_letter.pdf.
                                                6
           Case 1:25-cv-01363-DLB         Document 1        Filed 04/29/25     Page 7 of 69



           11.   If the Defendants’ actions are permitted to stand despite their statutory and

constitutional defects, then the gutting of AmeriCorps will inflict immediate and irreparable harms

on the Plaintiff States, their residents, and the public at large.

           12.   The Administration is free to ask Congress to abolish AmeriCorps, but it cannot

simply terminate the agency’s functions by fiat or defund the agency in defiance of administrative

procedures, Congressional appropriations, and the Constitutional separation of powers.

Accordingly, the Defendants’ actions should be declared unlawful and vacated.

                                  JURISDICTION AND VENUE

           13.   The Court has jurisdiction over this Complaint under 28 U.S.C. § 1331, 28 U.S.C.

§ 1361, and 5 U.S.C. § 702.

           14.   There is a controversy under 28 U.S.C. § 2201(a), and this Court may grant

declaratory relief, injunctive relief, and other appropriate relief under 28 U.S.C. §§ 1361, 2201–

2202, 5 U.S.C. §§ 704–706 and the Court’s equitable powers.

           15.   Venue is proper in this District because Plaintiff State of Maryland and its Attorney

General reside in this District and the other Plaintiffs consent to adjudication of these issues here.

Moreover, a substantial part of the acts or omissions giving rise to this action occurred in this

District, and this action seeks relief affecting AmeriCorps members and employees who reside in

this District.

                                               PARTIES

      I.         Plaintiffs

           16.   The State of Maryland is a sovereign state of the United States of America.

Maryland is represented by and through its chief legal officer, Attorney General Anthony G.

Brown.

                                                    7
        Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25      Page 8 of 69



       17.     The State of Delaware, represented by and through its Attorney General, Kathleen

Jennings, is a sovereign state of the United States of America. The Attorney General is Delaware’s

chief law enforcement officer and is authorized to pursue this action pursuant to 29 Del. C. § 2504.

       18.     The State of California is a sovereign state of the United States of

America. California is represented by Attorney General Rob Bonta, who is the chief law

enforcement officer of California.

       19.     The State of Colorado is a sovereign state in the United States of America.

Colorado is represented by Phil Weiser, the Attorney General of Colorado. The Attorney General

acts as the chief legal representative of the state and is authorized by Colo Rev. Stat. § 24-31-101

to pursue this action.

       20.     The State of Arizona is a sovereign state in the United States of America. Arizona

is represented by Attorney General Kris Mayes, who is the chief law enforcement officer of

Arizona.

       21.     The State of Connecticut is a sovereign state of the United States of America.

Connecticut is represented by and through its chief legal officer, Attorney General William Tong,

who is authorized under General Statutes § 3-125 to pursue this action on behalf of the State of

Connecticut.

       22.     The District of Columbia is a municipal corporation organized under the

Constitution of the United States. It is empowered to sue and be sued, and it is the local

government for the territory constituting the permanent seat of the federal government. The

District is represented by and through its chief legal officer, Attorney General Brian L. Schwalb.

The Attorney General has general charge and conduct of all legal business of the District and all



                                                 8
        Case 1:25-cv-01363-DLB           Document 1         Filed 04/29/25      Page 9 of 69



suits initiated by and against the District and is responsible for upholding the public interest. D.C.

Code. § 1-301.81.

        23.     The State of Hawai‘i is a sovereign state of the United States of America. Hawai‘i

is represented by Attorney General Anne E. Lopez, Hawai‘i chief legal officer, who is authorized

by Hawai‘i Rev. Statutes sec. 28-1 to pursue this action.

        24.     The State of Illinois is a sovereign state of the United States of America. Illinois is

represented by Attorney General Kwame Raoul, who is the chief law enforcement officer of

Illinois and is authorized to pursue this action under Illinois law. See 15 ILCS 205/4.

        25.     Office of the Governor, ex rel. Andy Beshear, brings this suit in his official capacity

as the Governor of the Commonwealth of Kentucky. The Kentucky Constitution makes the

Governor the Chief Magistrate with the “supreme executive power of the Commonwealth,” Ky.

Const. § 69, and gives the Governor, and only the Governor, the duty to “take care that the laws

be faithfully executed,” Ky. Const. § 81. In fulfilling his constitutional duties, the Governor has

authority to bring this action.

        26.     The State of Maine is a sovereign state of the United States of America. Maine is

represented by Aaron M. Frey, the Attorney General of Maine. The Attorney General is authorized

to pursue this action pursuant to 5 Me. Rev. Stat. § 191.

        27.     The Commonwealth of Massachusetts is a sovereign state of the United States of

America.      Massachusetts is represented by Andrea Joy Campbell, the Attorney General of

Massachusetts, who is the chief law officer of Massachusetts and authorized to pursue this action.

        28.     The People of the State of Michigan is represented by Attorney General Dana

Nessel. The Attorney General is Michigan’s chief law enforcement officer and is authorized to



                                                   9
       Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25     Page 10 of 69



bring this action on behalf of the People of the State of Michigan pursuant to Mich. Comp. Laws

§ 14.28.

       29.     The State of Minnesota is a sovereign state of the United States of America.

Minnesota is represented by Keith Ellison, the Attorney General of the State of Minnesota. The

Attorney General’s powers and duties include acting in federal court in matters of State concern.

Minn. Stat. § 8.01. The Attorney General has the authority to file suit to challenge action by the

federal government that threatens the public interest and welfare of Minnesota residents and to

vindicate the State’s sovereign and quasi-sovereign interests.

       30.     The State of Nevada, represented by and through Attorney General Aaron D. Ford,

is a sovereign State of the United States of America. The Attorney General is the chief law

enforcement officer of the State of Nevada and is authorized to pursue this action under Nev. Rev.

Stat. 228.110 and Nev. Rev. Stat. 228.170.

       31.     The State of New Jersey is a sovereign state of the United States of America. New

Jersey is represented by Matthew Platkin, the Attorney General of New Jersey, who is the chief

law enforcement officer of New Jersey and authorized to sue on the State’s behalf.

       32.     The State of New Mexico is a sovereign state of the United States of America. New

Mexico is represented by Attorney General Raúl Torrez who is the chief law enforcement officer

of New Mexico.

       33.     The State of New York is a sovereign state of the United States of America. New

York is represented by Attorney General Letitia James, who is the chief law enforcement officer

of New York.




                                                10
       Case 1:25-cv-01363-DLB           Document 1        Filed 04/29/25      Page 11 of 69



       34.      The State of North Carolina is a sovereign state of the United States of America.

North Carolina is represented by Attorney General Jeff Jackson who is the chief law enforcement

officer of North Carolina.

       35.      The State of Oregon is a sovereign state of the United States. Oregon is represented

by Attorney General Dan Rayfield. The Attorney General is the chief legal officer of Oregon and

is authorized to institute this action. ORS 180.060.

       36.      Josh Shapiro brings this suit in his official capacity as Governor of the

Commonwealth of Pennsylvania. The Pennsylvania Constitution vests “[t]he supreme executive

power” in the Governor, who “shall take care that the laws be faithfully executed.” Pa. Const. art.

IV, § 2. The Governor oversees all executive agencies in Pennsylvania.

       37.      The State of Rhode Island is a sovereign state of the United States of America.

Rhode Island is represented by Attorney General Peter F. Neronha, who is the chief law

enforcement officer of Rhode Island.

       38.      The State of Vermont is a sovereign state of the United States of America. Vermont

is represented by Attorney General Charity Clark. Attorney General Clark is authorized to initiate

litigation on Vermont’s behalf.

       39.      The State of Washington is a sovereign state of the United States of America.

Washington is represented by Attorney General Nicholas W. Brown. The Attorney General of

Washington is the chief legal adviser to the State and is authorized to act in federal court on behalf

of the State on matters of public concern. Chapter 43.10 RCW.

       40.      The State of Wisconsin is a sovereign state of the United States of America.

Wisconsin is represented by Attorney General Josh Kaul, who is the chief law enforcement officer

of Wisconsin.

                                                 11
       Case 1:25-cv-01363-DLB            Document 1     Filed 04/29/25     Page 12 of 69



     II.         Defendants

           41.   Defendant Corporation for National and Community Service, operating as

AmeriCorps, is an executive agency of the United States pursuant to 5 U.S.C. § 105. As such, it

engages in agency action and is named as a defendant in this action pursuant to 5 U.S.C. § 702.

           42.   Defendant Jennifer Bastress Tahmasebi is the interim agency head of AmeriCorps.

She is named in her official capacity.

                                  FACTUAL ALLEGATIONS

    III.         AmeriCorps’ History, Structure, and Programs

                        a.     Statutory History

           43.   The Corporation for National and Community Service (AmeriCorps) traces its

origins back to the Domestic and Volunteer Service Act of 1973, Pub. L. 93-113, § 401, 87 Stat.

394, 405 (Oct. 1, 1973) (the 1973 Act). The 1973 Act created Volunteers in Service to America

(VISTA), a “program of full-time volunteer service” designed “to strengthen and supplement

efforts to eliminate poverty and poverty-related human, social, and environmental problems in the

United States.” Id. § 101, 87 Stat. at 396. The 1973 Act also created several National Older

American Volunteer Programs, including the Retired Senior Volunteer Program (RSVP), id. §

201, 87 Stat. at 401, and the Foster Grandparent Program, id. §§ 211–212, 87 Stat. at 402–03.

Congress established an entity known as the ACTION Agency to operate these programs. Id. §

401, 87 Stat. at 405.

           44.   Later, Congress enacted the National and Community Service Act of 1990, Pub. L.

101-610, § 190, 104 Stat. 3127, 3168 (Nov. 16, 1990) (the 1990 Act), to establish a Commission

on National and Community Service. The Commission administered grant programs authorized

by the 1990 Act to support, among other things, school-aged service, id. § 111, 104 Stat. at 3132;

                                                   12
       Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25      Page 13 of 69



youth conservation and human service corps, id. § 121, 104 Stat. at 3140; and full- and part-time

national and community service, id. § 141, 104 Stat. at 3150.

       45.     Congress then formed AmeriCorps by merging the Commission and the ACTION

Agency under the National and Community Service Trust Act of 1993, Pub. L. 103-82, §§ 191 &

203(c)(2), 107 Stat. 785, 873, 892 (Sept. 21, 1993) (the 1993 Act) (codified at 42 U.S.C. §§ 12501

et seq.); 42 U.S.C. § 12651.

       46.     Congress created AmeriCorps and its predecessors in order to (among other things)

“renew the ethic of civic responsibility and the spirit of community and service throughout the

varied and diverse communities of the United States,” 42 U.S.C. § 12501(b)(2); “build on the

existing organizational service infrastructure of Federal, State, and local programs, agencies, and

communities to expand full-time and part-time service opportunities for all citizens,” id. §

12501(b)(7); “leverage Federal investments to increase State, local, business, and philanthropic

resources to address national and local challenges,” id. § 12501(b)(17); and “support institutions

of higher education that engage students in community service activities and provide high-quality

service-learning opportunities.” Id. § 12501(b)(18).

                      b.       Agency Structure

       47.     AmeriCorps is a Government corporation, 42 U.S.C. § 12651, led by a Board of

Directors, id. § 12651a, and a Chief Executive Officer (CEO). Id. § 12651c.

       48.     Members of AmeriCorps’ Board and its CEO both are appointed by the President

with the advice and consent of the Senate. Id. §§ 12651a(a)(1) & 12651c(a).

       49.     By statute, AmeriCorps’ Board is at least bipartisan: “To the maximum extent

practicable, the President shall appoint members . . . so that no more than 50 percent of the



                                                  13
       Case 1:25-cv-01363-DLB           Document 1        Filed 04/29/25      Page 14 of 69



appointed members of the Board, plus 1 additional appointed member, are from a single political

party.” Id. § 12651a(a)(2)(E).

       50.     AmeriCorps’ Board “set[s] overall policy for the Corporation” and “review[s] and

advise[s] the Chief Executive Officer regarding, the actions of the Chief Executive Officer with

respect to the personnel of the Corporation, and with respect to such standards, policies,

procedures, programs, and initiatives as are necessary or appropriate to carry out the national

service laws.” Id. § 12651b(g)(5)(A).

       51.     AmeriCorps’ CEO is “responsible for the exercise of the powers and the discharge

of the duties of the Corporation that are not reserved to the Board,” and “ha[s] authority and control

over all personnel of the Corporation.” Id.§ 12651d(a).

       52.     The CEO also “may . . . generally perform such functions and take such steps

consistent with the objectives and provisions of the national service laws, as the Chief Executive

Officer determines to be necessary or appropriate to carry out such provisions.”                Id. §

12651d(c)(11).

                      c.       Agency Programs

       53.     AmeriCorps directly operates several service programs—notably, the National

Civilian Community Corps—but most of its funding goes to support programs independently

operated by State and local governments, nonprofit organizations, and universities.

       54.     AmeriCorps supports service programs through direct grants; pass-through grants,

which are awarded to State Service Commissions8 for the purpose of distributing to subgrantees;

and education awards.


       8
         To receive AmeriCorps funding, the 1993 Act requires each State either to (a) create a
State Commission on National and Community Service, or (b) obtain approval from AmeriCorps

                                                 14
        Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25     Page 15 of 69



        55.      AmeriCorps education awards are provided to volunteers (rather than to programs),

id. § 12602(a), in an amount “equal to the maximum amount of a Federal Pell Grant,” id. §

12603(a), and may be used to, among other things, “repay student loans” or “pay all or part of the

cost of attendance or other educational expenses at an institution of higher education.” Id. §

12604(a)(1)–(2).

        56.      AmeriCorps education awards are paid out of the National Service Trust, a Treasury

account that consists of, among other things, appropriated funds that have been designated for that

purpose. Id. § 12601(a).

        57.      In addition to education awards, AmeriCorps also funds benefits such as living

allowances, health coverage, and childcare for full-time members to enable their uncompensated

volunteer work. See id. § 4955; id. § 12594(a), (d), & (e).

        58.      Programs directly operated by AmeriCorps include:

              a. National Civilian Community Corps (Title I-E of the 1993 Act), a full-time

                 residential program for young adults (aged 18–26) who live together for 10–11

                 months while working on service projects such as maintaining trails, constructing

                 homes, and disaster relief. Id. § 12612; see also National Defense Authorization

                 Act for FY 1993, PL 102-484, § 1092, 106 Stat. 2315, 2522 (Oct. 23, 1992)



“to use an alternative administrative entity to carry out the duties otherwise entrusted to a State
Commission.” 42 U.S.C. § 12638(a)(1)–(2). In Plaintiff State Maryland, for example,
AmeriCorps pass-through grants are allocated by the Governor’s Office on Service and
Volunteerism within the Department of Service and Civic Innovation.
       Certain Plaintiff States—Massachusetts, Minnesota, and Nevada—have designated private
nonprofit groups to serve as their State Service Commissions under 42 U.S.C. § 12638(a)(2). See
AmeriCorps, State Service Commissions, https://www.americorps.gov/contact/state-service-
commissions (last accessed Apr. 21, 2025). Notwithstanding that the administrative entities for
those States are private nonprofits, competitive and formula grants administered by those entities
are “ma[de] . . . to each of the several States.” See 42 U.S.C. § 12581(d)(1) & (e)(1).
                                                 15
Case 1:25-cv-01363-DLB            Document 1       Filed 04/29/25       Page 16 of 69



         (creating NCCC’s predecessor, the Civilian Community Corps, to “combine the

         best practices of civilian service with the best aspects of military service”).

      b. Volunteers in Service to America (Title I-A of the 1973 Act), the “program of full-

         time volunteer service” formerly administered by the ACTION Agency. 42 U.S.C.

         § 4951. Members “perform . . . volunteer service” to “assist in the solution of

         poverty and poverty-related problems and secure and increase opportunities for

         self-advancement by persons affected by such problems.” Id.

59.      Grant programs through which AmeriCorps provides funding include:

      a. AmeriCorps State and National Grants (Title I-C of the 1993 Act; Title I-D of the

         1990 Act), which “make grants to States, subdivisions of States, territories, Indian

         tribes, public or private nonprofit organizations, and institutions of higher education

         for the purpose of assisting the recipients of the grants—(1) to carry out full- or

         part-time national service programs, including summer programs . . . ; and (2) to

         make grants in support of other national service programs . . . that are carried out

         by other entities.” Id. § 12571(a). 35.3% of State and National Grants are awarded

         to State Service Commissions on a formula basis to provide pass-through funding

         to service programs, id. § 12581(e)(2); most of the remainder are awarded “on a

         competitive basis” to States as well as “to nonprofit organizations seeking to

         operate a national service program in 2 or more of those States, and to Indian

         tribes.” Id. § 12581(d)(1). Types of programs supported include Education Corps,

         Veterans Corps, and Opportunity Corps. Id. § 12572(b)–(c).




                                           16
Case 1:25-cv-01363-DLB         Document 1        Filed 04/29/25      Page 17 of 69



   b. Innovation and Demonstration Programs (Title I-H of the 1993 Act; Title I-E of the

      1990 Act; Title I-C of the 1973 Act), which support various pilot programs, see,

      e.g., id. § 12653k, and “demonstration programs.” See, e.g., id. § 4992(a).

   c. National Older American Volunteer Programs (Title II of the 1973 Act):

          i. Retired and Senior Volunteer Program (Title II-A of the 1973 Act), which

              “make[s] grants to State agencies . . . or grants to or contracts with other

              public and nonprofit private agencies and organizations to pay part or all of

              the costs for the development or operation, or both, of volunteer service

              projects” for “retired individuals and working older individuals . . . 55 years

              of age or older.” Id. § 5001(a).

          ii. AmeriCorps Seniors’ Foster Grandparent Program (Title II-B of the 1973

              Act), through which “foster grandparents” provide one-on-one tutoring and

              mentorship “to children who are individuals with disabilities, who have

              chronic health conditions, who are receiving care in hospitals, who are

              residing in homes for dependent and neglected children, or who are

              receiving services provided . . . for children having special or exceptional

              needs or circumstances identified as limiting their academic, social, or

              emotional development.” Id. § 5011(a).

         iii. AmeriCorps Seniors’ Senior Companion Program (Title II-C of the 1973

              Act), through which volunteers “provide services designed to help older

              persons requiring long-term care, including services to persons receiving

              home health care, nursing care, home-delivered meals or other nutrition

              services; services designed to help persons deinstitutionalized from mental

                                        17
       Case 1:25-cv-01363-DLB             Document 1     Filed 04/29/25      Page 18 of 69



                       hospitals, nursing homes, and other institutions; and services designed to

                       assist persons having developmental disabilities and other special needs for

                       companionship.” Id. § 5013(a).

       60.     Each year, AmeriCorps is responsible for drafting Notices of Funding

Opportunities (NOFO) that provide public notice of each grant it plans to award, including funds

that AmeriCorps is statutorily required to allocate to the Plaintiff States. 2 C.F.R. § 2205.100; id.

§ 200.204 (requiring NOFOs for competitive awards and setting minimum content.)

       61.     For FY 2024, Congress appropriated AmeriCorps $975,525,000 “to carry out” the

1990 and 1973 Acts (including $37,735,000 for NCCC); $180,000,000 “[f]or payment to the

National Service Trust”; $99,686,000 “[f]or necessary expenses of administration” (i.e., employee

salaries); and $7,595,000 “[f]or necessary expenses of [AmeriCorps’] Office of Inspector

General,” for a total of $1,262,806,000. Further Consolidated Appropriations Act, 2024, div. D,

tit. IV, 138 Stat. at 694–95.

       62.     For FY 2024, Congress directed that AmeriCorps allocate the funds appropriated

“to carry out” the 1990 and 1973 Acts as follows, 170 Cong. Rec. H2060–61 (Mar. 22, 2024):

                                Program                         Amount         Percentage

                                   Directly Operated Programs
         National Civilian Community Corps                 $37,735,000            3.87%
         Volunteers in Service to America                 $103,285,000           10.59%
                                               Subtotal $141,020,000             14.46%

                                        Grant Programs
         AmeriCorps State and National Grants                $557,094,000        57.11%
         National Older American Volunteer Programs          $236,917,000        24.29%
           Retired Senior Volunteer Program                   $55,105,000         5.65%
           Foster Grandparents Program                       $125,363,000        12.85%
           Senior Companion Program                           $56,449,000         5.79%
         Innovation, Assistance, and Other Activities        $14,706,000          1.51%
                                                 18
       Case 1:25-cv-01363-DLB          Document 1        Filed 04/29/25     Page 19 of 69



         State Commission Support Grants                     $19,538,000         2.00%
                                                Subtotal     $828,255,000       84.90%

                                               Other
         Evaluation                                           $6,250,000         0.64%

                                                     Total   $975,525,000

   63. Congress also provided that AmeriCorps “shall make any significant changes to program

requirements, service delivery or policy only through public notice and comment rulemaking.”

Further Consolidated Appropriations Act, 2024 § 401, 138 Stat. at 695.

       64.      For FY 2025, Congress reappropriated the amounts from the FY 2024

appropriations act, “under the authority and conditions provided in” that Act.            Full-Year

Continuing Appropriations Act, 2025, Pub. L. 119-4, § 1101(a)(8), 139 Stat. 9, 11 (Mar. 15, 2025).

       65.      The only material basis identified by statute for which AmeriCorps may cancel a

grant it has awarded to a State is if it determines “there is a material failure to comply with this

subchapter or the applicable terms and conditions of any such grant or contract issued pursuant to

this subchapter.” 42 U.S.C. § 12636(a). Furthermore, by statute, grants “shall not be terminated

or revoked for failure to comply with applicable terms and conditions of this subchapter unless the

recipient of such assistance has been afforded reasonable notice and opportunity for a full and fair

hearing” at a location convenient to the grantee, and the opportunity to demonstrate. Id. §

12636(a)–(b).

       66.      Under applicable regulations, AmeriCorps must give a grantee 7 days’ notice of

proposed cuts, during which it may submit “written material in opposition to the proposed action”

that shows “good cause why such assistance should not be terminated or revoked.” 45 C.F.R. §

2540.400 (“Under what circumstances will the Corporation suspend or terminate a grant or

contract?”).
                                                19
       Case 1:25-cv-01363-DLB           Document 1       Filed 04/29/25     Page 20 of 69



                       d.      Other Statutory Duties

       67.      In addition to authorizing AmeriCorps’ programs, the statutes impose various

affirmative duties upon the agency and its officials:

             a. AmeriCorps’ CEO “shall establish and maintain a decentralized field structure that

                provides for an office of the Corporation for each State.” 9 42 U.S.C. § 12651h.

             b. AmeriCorps “shall establish a Nonprofit Capacity Building Program to make grants

                to intermediary nonprofit organizations to serve as intermediary nonprofit

                grantees.” Id. § 12653s(b).

             c. AmeriCorps “shall, directly or through grants, contracts, or cooperative agreements

                (including through State Commissions), conduct appropriate training for and

                provide technical assistance to—(1) programs receiving assistance under the

                national service laws; and (2) entities (particularly entities in rural areas and

                underserved communities) that desire to—(A) carry out or establish national

                service programs; or (B) apply for assistance (including subgrants) under the

                national service laws.” Id. § 12657.

             d. AmeriCorps “shall provide assistance, by grant, contract, or cooperative agreement,

                to entities with expertise in the dissemination of information through

                clearinghouses to establish 1 or more clearinghouses for information regarding the



       9
           Although Congress directed that AmeriCorps maintain an office “for each State,” and
that the office must be “located in, or in reasonable proximity to,” the state, 42 U.S.C. § 12651h,
during the first Trump Administration AmeriCorps closed the state offices and replaced them with
eight regional offices. AmeriCorps, Transformation and Sustainability Plan 6 (June 6, 2018),
https://americorps.gov/sites/default/files/documents/20180606CNCSTransformationandSustaina
bilityFinal.pdf; 45 C.F.R. § 2500.12. These offices were subsequently made fully remote, virtual
offices.          AmeriCorps,       Region       Offices    (accessed       Apr.     22,     2025),
https://americorps.gov/contact/region-offices.
                                                 20
       Case 1:25-cv-01363-DLB              Document 1       Filed 04/29/25      Page 21 of 69



                   national service laws, which shall include information on service-learning and on

                   service through other programs receiving assistance under the national service

                   laws.” Id. § 12653o.

                e. AmeriCorps “shall establish a Social Innovation Funds grant program to make

                   grants on a competitive basis to eligible entities for Social Innovation Funds.” Id.

                   § 12653k(d).

          68.      With respect to the VISTA program, specifically, the 1973 Act requires

AmeriCorps to “grant assistance . . . on the basis of merit and to accomplish the goals of the VISTA

program.” Id. § 4960.

          69.      Finally, when Congress merged the Commission and the ACTION Agency into

AmeriCorps, it required the new entity to “expend at least the level of effort on recruitment and

public awareness activities related to the programs carried out under the Domestic Volunteer

Service Act of 1973 (42 U.S.C. [§] 4950 et seq.) as ACTION expended on recruitment and public

awareness activities related to programs under the Domestic Volunteer Service Act of 1973 during

fiscal year 1993.” Id. § 12651d(g)(1).

                         e.       Current Competitive Grant Process

          70.      AmeriCorps issued its NOFO for Fiscal Year 2025 AmeriCorps State and National

Competitive Grants on or about August 19, 2024. NOFO, FY 2025 AmeriCorps State and National

Grants,                                            available                                        at

https://americorps.gov/sites/default/files/document/2025_ASNCompetitveNOFO_August19.508




                                                    21
       Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25      Page 22 of 69



_0.pdf. This NOFO concerned the approximately 62.7% of AmeriCorps State and National Grants

that are awarded on a competitive basis.10 See 42 U.S.C. § 12581(d)(1).

       71.      Plaintiff States’ Service Commissions submitted their applications for competitive

grants on or before January 23, 2025.       The state applications consist of hundreds of sub-

applications from nonprofit organizations and local government agencies that were themselves

selected by the States through a competitive process.

       72.      The NOFO outlines a comprehensive application review procedure whereby:

             a. AmeriCorps does an initial compliance and eligibility check for each application.

                Id. at 23.

             b. A team of external reviewers substantively evaluates each application using 11

                weighted criteria, including an explanation of the community problem and how the

                proposed intervention will result in measurable outputs; documented evidence to

                support the program design; member experience; host organization capability,




       10
            Other competitive AmeriCorps grants, such as Seniors RSVP grants and Volunteer
Generation Fund grants, are awarded through a similar process. See, e.g., NOFO, FY 2025
AmeriCorps                       Seniors                    RSVP                       Competition,
https://americorps.gov/sites/default/files/document/FY25RSVPNOFO_508_9.5.24_0.pdf;
NOFO,              FY             2023            Volunteer            Generation             Fund,
https://americorps.gov/sites/default/files/document/AmeriCorps_FY2023_VGF_NOFO_508.pdf.
        For formula-based grants such as State Commission Support Grants and 35.3% of State
and National Grants, AmeriCorps allocates an amount equivalent to the ratio that “the population
of the State bears to the total population of the several States, the District of Columbia, and the
Commonwealth of Puerto Rico.” 42 U.S.C. § 12581(e)(2); see, e.g., Memorandum re Instructions
for Being Awarded Fiscal Year 2024 Commission Support Grant and Commission Investment
Fund       Grants       Allocations       via     Round        Two       (June       21,     2024),
https://americorps.gov/sites/default/files/document/FY%202024%20CSG-
CIF%20Round2%20Commission%20Guidance.508.pdf; Memorandum re Fiscal Year 2024
Formula        Guidance         for       State     Commissions          (Mar.        1,     2024),
https://americorps.gov/sites/default/files/document/FY%202024%20Formula%20Guidance.pdf.
South Dakota does not receive formula-based grants because it lacks a State Service Commission.
                                                22
       Case 1:25-cv-01363-DLB            Document 1       Filed 04/29/25      Page 23 of 69



                staffing, supervision, and “commitment to diversity, equity, inclusion, and

                accessibility”; and program budget and cost effectiveness. Id. at 18–24.

             c. AmeriCorps internally reviews each application, consults with State Service

                Commissions, and checks for budget compliance and the presence of prohibited

                activities. Id. at 24.

             d. AmeriCorps conducts a post-review quality control that evaluates the initial results

                for fairness and consistency. Id.

             e. Prior to awarding a grant, AmeriCorps performs a risk assessment of each

                organization, which considers financial compliance and past performance

                indicators. Id. at 24–25.

             f. AmeriCorps engages interactively with applicants to request additional information

                or resolve problems with the applications. Id. at 26.

       73.      In the NOFO, AmeriCorps announced that it would complete this process for State

and National Competitive Grants applications and notify successful applicants by “mid-April

2025.” Id. at 1.

       74.      AmeriCorps has not yet notified the Plaintiff States of the results of their

competitive grant applications.

       75.      Plaintiff States need to know the results of the competitive grant awards so that they

can determine which projects will need funding from their formula-based AmeriCorps State and

National Grants.

       76.      Plaintiff States consistently competed for and won competitive State and National

Grants in the past, relied upon the resulting awards, and intended to apply again in the future.



                                                    23
       Case 1:25-cv-01363-DLB           Document 1       Filed 04/29/25   Page 24 of 69



          77.   AmeriCorps requires States to submit their complete formula applications by June

13 or July 11 (depending on projects’ start dates). 11

    IV.         AmeriCorps’ Presence in Plaintiff States

          78.   As noted above, much of AmeriCorps’ funding goes toward AmeriCorps State and

National, which provides grants to many agencies and instrumentalities of Plaintiff States.

Members and volunteers under AmeriCorps’ other programs also serve on projects and programs

in each of Plaintiff States.

                        a.     Maryland

          79.   In Plaintiff State of Maryland, the State Service Commission that manages

AmeriCorps grants is the Governor’s Commission on Service and Volunteerism (Maryland

Governor’s Commission). The Maryland Governor’s Commission was created in 1994 to review

and approve all AmeriCorps State funding and to serve as a body of ambassadors for service and

volunteerism in local communities. The Maryland Governor’s Commission is administered by the

Governor’s Office on Service and Volunteerism, which is itself part of the Maryland Department

of Service and Civic Innovation (DSCI).

          80.   In FY 2024, the Maryland Governor’s Commission managed more than $6.2

million in federal funding from AmeriCorps: $4.2 million in AmeriCorps State Grants, $1.1

million in AmeriCorps State Planning Grants (which assist Maryland-based entities in developing

national service programs),12 $389,181 in State Commission Operations Support Grants (which



          11
          AmeriCorps, Fiscal Year 2025 Formula Guidance for State Commissions (Mar. 7, 2025),
https://americorps.gov/sites/default/files/document/2025-
03/FY%202025%20Commission%20Formula%20Guidance%201.pdf.
          12
            See 2024 Terms and Conditions for AmeriCorps State and National Grants 2,
https://americorps.gov/sites/default/files/document/2024ASNProgram508TC.pdf.
                                                  24
       Case 1:25-cv-01363-DLB           Document 1      Filed 04/29/25      Page 25 of 69



support the Governor’s Commission in performing its duties under 45 C.F.R. § 2550.80), 13 and

$530,759 in State Commission Investment Fund Grants (which cover training and technical

assistance).14

       81.        That year, AmeriCorps State and National Planning Grants supported 25 service

programs across Maryland, such as Civic Works Service Corps, Maryland Refugee Corps

(operated by the International Rescue Committee), Maryland Reading Corps, Teach for America

Maryland, City Teaching Alliance–Baltimore, and HabiCorps (operated by Habitat for Humanity

of the Chesapeake). These programs worked across 174 locations and involved 672 participants.

Federal funding partially or fully supported more than 80 program staff members.

       82.        In total, in FY 2024, AmeriCorps provided more than $21 million in funding and

education awards to support all projects and programs within Maryland. 15

       83.        That year, 4,949 AmeriCorps members and volunteers served on all projects and

programs within Maryland.16

       84.        AmeriCorps supports numerous service programs that are directly operated by

Maryland public entities. Several State universities in Maryland operate AmeriCorps programs,

which place hundreds of members at local schools and organizations. The Maryland Park Service




       13
              See FY 2024 Commission Support Grant Terms and Conditions                       1,
https://americorps.gov/sites/default/files/document/2024-TC-CSG-508-112723.pdf.
       14
          See 2024 Terms and Conditions for Training and Technical Assistance Commission
Investment Fund Grants 1, https://americorps.gov/sites/default/files/document/2024-TC-CIF-508-
112723.pdf.
       15
                        AmeriCorps,           2024        Year        in     Review—Maryland,
https://americorps.gov/sites/default/files/upload/state_profiles/pdf_2025/MD_Combined.pdf.
       16
            Id.
                                                25
       Case 1:25-cv-01363-DLB           Document 1        Filed 04/29/25      Page 26 of 69



also collaborates with AmeriCorps to operate the Maryland Conservation Corps, which supports

public parks and natural resource management across the State.

       85.      For example, Salisbury University (located on Maryland’s Eastern Shore) runs a

robust AmeriCorps program known as ShoreCorps. During the current service year (August 2024–

August 2025), ShoreCorps enrolled 178 members, who as of April 2025 have collectively provided

approximately 53,000 hours of service at 57 government and nonprofit entities across the rural

Eastern Shore. ShoreCorps members collectively have managed 1,164 volunteers and provided

services for 517 youths and 1,557 adults.

       86.      This year, Salisbury was awarded $490,538 by AmeriCorps to operate ShoreCorps.

The federal funding covers salaries for ShoreCorps’ full-time staff; stipends and benefits for

members; and other program costs.

       87.      In addition, Salisbury relies on ShoreCorps in several other ways:

             a. Many ShoreCorps members serve at the university itself, by volunteering at Food

                for the Flock (the campus food pantry), the Office of Student Support Services

                (which mentors first-generation and vulnerable students), or Sammy’s Stash (which

                provides professional attire to students for interviews, internships, and jobs), or by

                participating in the Presidential Citizen Scholars Program (which partners with

                local government to research and act on community needs).

             b. Many ShoreCorps members pay university tuition with AmeriCorps education

                awards supported by the National Service Trust. In 2024, $118,061 in Salisbury

                University tuition was paid using AmeriCorps education awards.

             c. Salisbury relies on ShoreCorps to expand its presence in and partnership with the

                community. By placing ShoreCorps members with organizations in the area, the

                                                  26
        Case 1:25-cv-01363-DLB              Document 1    Filed 04/29/25      Page 27 of 69



                 university creates lasting partnerships and fosters positive marketing that helps to

                 recruit future students.

              d. The ShoreCorps program is a key element of Salisbury’s overall identity, mission,

                 and strategic plan. ShoreCorps is the largest AmeriCorps program in Maryland,

                 and has received multiple awards recognizing its enormous service contribution on

                 the eastern shore of Maryland. Indeed, the current University strategic plan has an

                 explicit focus on increased engagement with the community, relying on

                 ShoreCorps as a cornerstone of that effort.

        88.      Frostburg State University in Western Maryland also operates an AmeriCorps

program, Appalachian Service Through Action and Resources (ASTAR), which has existed since

1994.

        89.      This year, ASTAR recruited and enrolled 59 AmeriCorps members to serve in

western Maryland. ASTAR placed members at ten organizations this year, including food banks,

an educational farm, and Special Olympics Maryland. ASTAR also placed members at over 15

elementary, middle, and high schools through Frostburg’s Education Department.              ASTAR

members assist their organizations with such diverse tasks as developing and implementing new

and engaging lesson plans in schools, developing engaging experiential learning trips, providing

food to the local community, expanding programming for special needs athletes, and providing

resources for marginalized communities in Western Maryland.

        90.      Like Salisbury, Frostburg relies on AmeriCorps support in several ways:

              a. ASTAR members routinely serve at the university. Currently, ASTAR has enrolled

                 members serving at Frostburg’s Center for Literary Arts, the Children’s Literature

                 Center, the PAWS Pantry (a student food bank), and the Biology Department.

                                                  27
       Case 1:25-cv-01363-DLB           Document 1        Filed 04/29/25      Page 28 of 69



             b. Many ASTAR members use their education awards to pay university tuition. Of

                the current ASTAR members who are expected to receive education awards, 11 are

                enrolled Frostburg students; they are expected to use most or all of their $20,000 in

                education awards to pay tuition at Frostburg.

             c. By placing ASTAR members with local organizations, Frostburg fosters

                partnerships and develops a positive public image within the community. These

                efforts, in turn, assist Frostburg with marketing and recruiting.

       91.      A third public university, the University of Maryland, Baltimore County (UMBC),

operates The Choice Program, a mentoring, diversion, and workforce development program for

young people under the supervision and care of the Maryland Department of Juvenile Services.

       92.      The Choice Program directly receives a small amount of federal AmeriCorps

funding—just over $12,000 this year—that allows it to obtain a far larger grant from Maryland’s

Department of Juvenile Services. The Choice Program also relies on AmeriCorps’ education

awards, in conjunction with State grant money, to attract members without the need for federally-

provided stipends. Through this combination of funding, the Choice Program can advance the

education of at-risk youth at lower cost to both the State and federal governments.

       93.      In this fiscal year, the Choice Program’s ten members provided 2,241 hours of

service to 252 young people. The Choice Program’s members provide in-person support to youths

and their families across Maryland, including by accompanying children to sporting events,

museums, and community service activities.

       94.      Many of the Choice Program’s members are UMBC students, who apply their

AmeriCorps education awards to pay tuition at UMBC or other Maryland public universities.



                                                 28
       Case 1:25-cv-01363-DLB          Document 1        Filed 04/29/25      Page 29 of 69



       95.     Along with the State universities, the Maryland Park Service (MPS) receives

support from AmeriCorps. MPS operates the Maryland Conservation Corps (MCC), which was

established in 1984 to mobilize young adults in intensive environmental conservation efforts that

preserve, protect, enhance, and restore Maryland’s natural resources.

       96.     In the 2023–2024 service year alone, MCC members improved thousands of acres

of public lands; restored hundreds of miles of trails and waterways across Maryland; provided

environmental education programs to more than 28,000 students, youth, and park visitors; and

helped respond to wildfires and clean up park facilities and trails after major storms.

       97.     This year, MCC received $922,079 from AmeriCorps to support 42 full-time

members who serve in state parks and natural resource management areas across Maryland.

       98.     Finally, along with funding, AmeriCorps provides members and programmatic

support to assist service programs operated by State instrumentalities in Maryland.

       99.     For example, five VISTA members currently are placed with DSCI and provide

critical capacity to support DSCI’s mission of promoting service and volunteerism in Maryland.

Their living stipends are paid directly by AmeriCorps.

                      b.       Delaware

       100.    In Plaintiff State of Delaware, the State Service Commission is the Governor’s

Commission on Community and Volunteer Service (Delaware Governor’s Commission).

Established in 1994, the Delaware Governor’s Commission is charged with administering

federally sponsored national service programs.

       101.    The Delaware Governor’s Commission receives and manages Prime Grants from

AmeriCorps, awards and disburses subgrants from the Primes, monitors subgrantees for



                                                 29
       Case 1:25-cv-01363-DLB            Document 1       Filed 04/29/25      Page 30 of 69



performance and compliance with grant requirements, provides training and technical assistance

for subgrantees, and functions as liaison between AmeriCorps and subgrantees.

       102.     In FY 2024, the Delaware Governor’s Commission administered nearly $1.5

million in federal funding from AmeriCorps: $837,187 million in AmeriCorps State Grants,

$103,140 in AmeriCorps State Planning Grants, and $507,086 in State Commission Operations

Support and State Commission Investment Fund Grants.

       103.     The Delaware Governor’s Commission manages two separate types of AmeriCorps

State Grants:

           a. Competitive grants (approximately two-thirds of AmeriCorps State Grants): The

                Delaware Governor’s Commission issues Requests for Proposals (RFPs) that are

                based on federal Notices of Funding Opportunity issued by AmeriCorps. Grant

                applicants submit application materials in response to the RFPs, and AmeriCorps

                exercises its discretion in approving grant applications.

           b. Formula grants (approximately one-third of AmeriCorps State Grants):              The

                Delaware Governor’s Commission receives Congressionally appropriated money

                from AmeriCorps and itself selects the subgrantees for this money. The Delaware

                Governor’s Commission issues RFPs, but these are not based on federal NOFOs.

       104.     Currently, the Delaware Governor’s Commission manages grants for ten

subgrantees, namely, the Children’s Beach House, West End Neighborhood House, Leading Youth

Through    Empowerment,       Literacy   Delaware,     Reading    Assist    Institute,   TeenSHARP,

SummerCollab, Family Promise, Spur Impact, and We Prosper Family Organization.

       105.     Subgrantees use the funds they receive from AmeriCorps Delaware to run programs

to benefit Delawareans. The money is used to recruit, manage, pay, and train AmeriCorps

                                                 30
       Case 1:25-cv-01363-DLB             Document 1      Filed 04/29/25     Page 31 of 69



members and handle program operations and costs, monitor and support host sites to ensure

compliant and effective service.

        106.       Many subgrantees then post AmeriCorps members at partner organizations called

host sites. The host sites typically pay a fee to a subgrantee for member placement, provide service

sites for members and supervise regular service, and verify hours and performance measures.

        107.       Through this arrangement, AmeriCorps Delaware currently funds 119 AmeriCorps

volunteers throughout Delaware.

        108.       In total, in FY 2024, AmeriCorps provided more than $6.6 million in funding and

education awards to support all projects and programs within Delaware. 17

        109.       That year, 1,322 AmeriCorps members and volunteers served on all projects and

programs within Delaware.18

        110.       AmeriCorps also supports service programs that are directly operated by Delaware

public entities.

        111.       For example, the State of Delaware’s Department of Health and Social Services

sponsors and funds the Delaware Foster Grandparent Program under an AmeriCorps Seniors

Grant. This program funds and organizes over 50 volunteers in Delaware who help children gain

skills and confidence to succeed in school, tutor students in literacy or math, and support

improvement in social and emotional skills.

                         c.      California




        17
                        AmeriCorps,           2024        Year        in     Review—Delaware,
https://americorps.gov/sites/default/files/upload/state_profiles/pdf_2025/DE_Combined.pdf.
        18
             Id.
                                                  31
       Case 1:25-cv-01363-DLB         Document 1       Filed 04/29/25      Page 32 of 69



       112.    California Volunteers—part of the Governor’s Office of Service and Community

Engagement—is the State Service Commission that manages AmeriCorps grants on behalf of

Plaintiff State of California. Reflecting California’s population, it is the largest State Service

Commission both in terms of volunteer numbers and financial awards.

       113.    For the current cycle, California Volunteers manages 90 programs supported by

AmeriCorps State and National Grants, involving 6,902 participants at over 1,800 locations.

AmeriCorps provides over $62 million in funding for these projects.

       114.    One such program is Prevent Child Abuse California, which hosts 65 AmeriCorps

members who provide academic assistance, life skills, and financial literacy to hundreds of foster

youths across 15 counties. This program is supported by $1.16 million in AmeriCorps funding

and $886,000 in matching funds.

       115.    Another program managed by California Volunteers is the Partnership for Veterans

and People Experiencing Homeless, which hosts 25 AmeriCorps members that provide housing

services, job placement, and case management to veterans and homeless individuals in Santa

Barbara County. This program is supported by $675,000 in AmeriCorps funding and $812,000 in

matching funds.

       116.    A third program managed by California Volunteers is Reading Partners California,

which hosts 80 AmeriCorps members who recruit and manage approximately 1400 volunteers to

provide one-on-one literacy tutoring to students at 58 low-income elementary schools. This

program is supported by $2 million in AmeriCorps funding and $2.4 million in matching funds.

       117.    California communities also benefit from the services provided by members in

other AmeriCorps programs, such as VISTA, RSVP, Foster Grandparents, and—until recently—

NCCC. In fiscal year 2024, AmeriCorps funded 254 additional service projects in California

                                               32
       Case 1:25-cv-01363-DLB          Document 1        Filed 04/29/25       Page 33 of 69



through these programs, covering 12,173 participants at 1,352 locations. AmeriCorps members

participating under these programs provide incalculable services to California communities, from

education to environmental stewardship, disaster relief to tax preparation.

       118.    The NCCC Pacific Region campus is located in Sacramento, California. In 2024,

the campus hosted 142 AmeriCorps members. An additional 388 AmeriCorps members from

across the country were deployed to 47 service locations in California.

       119.    In total, in FY 2024, AmeriCorps provided nearly $133 million in funding and

education awards to support all projects and programs within California. 19

       120.    One of eight AmeriCorps regional offices is located in Los Angeles, California.

       121.    For the coming grant cycle (FY 2025), California Volunteers held its own

competitive application process in the fall to select programs for its AmeriCorps State and National

competitive grants application, which it then submitted to AmeriCorps in January. In this

application, California Volunteers requested funding up to $42 million to support 35 programs

covering 2,758 proposed AmeriCorps members, plus an additional $6,471,487 in continuation

grant funds to support 5 programs and 293 AmeriCorps members.

       122.    Once California Volunteers receives its competitive awards, it will allocate funds

from California’s formula grant to support projects that were not funded under the competitive

grant. California also has grant funds allocated for Commission Support and a Commission

Investment Fund.

       123.    The majority of California Volunteers’ AmeriCorps projects are school-based,

either providing services to K–12 students or utilizing AmeriCorps members who are in college


       19
                      AmeriCorps,           2024        Year        in      Review—California,
https://www.americorps.gov/sites/default/files/upload/state_profiles/pdf_2025/CA_Combined.pd
f.
                                                33
       Case 1:25-cv-01363-DLB          Document 1        Filed 04/29/25     Page 34 of 69



(College Corps). These programs must begin by mid-August, prior to the school year. However,

members cannot be enrolled or funded until the final award is approved by AmeriCorps and fully

executed. In past years, California has had to submit its formula grant application by mid-June to

ensure timely processing by AmeriCorps.

                      d.      Colorado

       124.    In Plaintiff State of Colorado, AmeriCorps grants are managed by Serve Colorado,

a state government office housed within the Office of the Lieutenant Governor.

       125.    Serve Colorado receives and manages grant funds from AmeriCorps, awards and

disburses subgrants, monitors subgrantees for performance and compliance with grant

requirements, provides training and technical assistance for subgrantees, and functions as a liaison

between AmeriCorps and subgrantees.

       126.    Serve Colorado currently manages 34 grants for AmeriCorps State and National

subgrantees, including nonprofit organizations, local governments, and institutions of higher

education in urban, rural, and mountain towns across Colorado. Subgrantees use the funds they

receive from Serve Colorado to run programs to benefit Coloradans by recruiting, managing,

paying, and training AmeriCorps members, handling program operations and costs, and

monitoring and supporting subgrantees.

       127.    In 2024 alone, Serve Colorado’s subgrants supported nearly 1,400 AmeriCorps

members who contributed over one million hours of service across all 64 Colorado counties. Those

members supported nearly 20,000 students, treated over 2,100 acres of public land, restored over

800 miles of trail, and provided human services to 27,000 people.

       128.    Since 2015, Serve Colorado has awarded nearly $102 million in AmeriCorps grants

and has enlisted nearly 12,000 AmeriCorps members in service to the State of Colorado.

                                                34
       Case 1:25-cv-01363-DLB          Document 1        Filed 04/29/25     Page 35 of 69



                      e.      Other States

       129.    Other Plaintiff states similarly rely on AmeriCorps funds to support community-

oriented projects and initiatives. Except for South Dakota, all fifty states (as well as Puerto Rico

and the U.S. Virgin Islands) have established State Service Commissions to administer

AmeriCorps funds for the benefit of their citizens and communities. 20

       130.    In Arizona, for example, the Governor’s Office of Youth, Faith, and Family’s

Commission on Service & Volunteerism administers AmeriCorps grants. In FY 2024, the

Commission administered federal grants funding over 1,500 AmeriCorps members providing

services in the State. AmeriCorps also directly funded an additional 3,280 members and volunteers

in Arizona. In total, the federal investment was $18.3 million. The Commission manages seven

Prime Grants. Three are through competitive funding, while four are formula Primes. Across

these grants, the Commission manages grants for 26 subgrantees. Since 1994, more than 28,000

Arizona residents have contributed nearly 30 million hours of service and earned education awards

totaling more than $78.5 million.

       131.    The Serve Illinois Commission on Volunteerism and Community Service (Serve

Illinois), which is administered by the Illinois Department of Human Services, manages grants for

33 subgrantees, which in turn serve 33 programs. In Program Year 2024, Serve Illinois received

and managed $28,992,935 in federal funding through these grants. For these grants managed by

Serve Illinois, there are approximately 714 members. These members serve in areas that seek to

expand economic opportunity, in education, in areas designed to improve health futures, in areas

designed to aid in environmental stewardship, and in areas to aid veterans and military families



       20
                       See       AmeriCorps,         State         Service       Commissions,
https://www.americorps.gov/contact/state-service-commissions (last accessed Apr. 21, 2025).
                                                35
       Case 1:25-cv-01363-DLB           Document 1        Filed 04/29/25       Page 36 of 69



throughout State of Illinois. For example, these members serve at the Boys and Girls Clubs of

Chicago, Dundee Township, Elgin, and Livingston County; at the Greater Chicago Food

Depository; at the Association House of Chicago; at Youth and Opportunity United; and at

Literacy Volunteers of Illinois, among others. AmeriCorps’ impact on Illinois is substantial and

wide-ranging—in total, in 2024 there were 9,447 members and volunteers at 1,111 service

locations.21

       132.    In Kentucky, the Serve Kentucky Commission—attached to the Cabinet for Health

and Family Services—awards and manages between $10 million and $15 million in AmeriCorps

funds each year. Serve Kentucky disburses AmeriCorps funds to such programs as the Christian

Appalachian Project, through which members provide housing development and repair,

emergency utility and crisis assistance, hunger relief, affordable clothing, infant and toddler care,

and pre-school, afterschool and summer education; Family Resource and Youth Services Centers,

which employ 73 people who tutor students in literacy and provide basic needs support to kids;

and Kentucky Health Corps, which provides healthcare support in the area of memory care, skilled

nursing, and assisted living to seniors and people with disabilities in healthcare facilities.

       133.    The Maine Commission for Community Service manages grants for 8 subgrantees,

including Maine Conservation Corps, Alpha Legal Foundation, Main Street Skowhegan, White

Pine Programs, Greater Portland Council of Governments, Food for All, and Hospice Volunteers

of Somerset County.




       21
                     See        AmeriCorps,         2024        Year     in     Review—Illinois,
https://americorps.gov/sites/default/files/upload/state_profiles/pdf_2025/IL_Combined.pdf (last
accessed April 25, 2025).
                                                  36
       Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25      Page 37 of 69



       134.    In Massachusetts, the State Service Commission that manages AmeriCorps grants

is the Massachusetts Service Alliance. Its predecessor was the Massachusetts National and

Community Service Commission, established by Governor William F. Weld in 1994. In 2006,

Governor Mitt Romney designated a charitable corporation, the Massachusetts Service Alliance,

Inc., as an “alternative administrative entity” for purposes of 42 U.S.C. § 12638(a)(2) and subject

to the requirements of 42 U.S.C. § 12638. This designation as an alternative administrative entity

may be revoked at any time by the Governor of Massachusetts by further Executive Order.

Massachusetts’s State Service Commission monitors and evaluates the implementation of

AmeriCorps state programs in Massachusetts.          In FY 2024, Massachusetts’s State Service

Commission was awarded more than $23 million in AmeriCorps funding to support programs

across the state. The AmeriCorps programs in Massachusetts include programs for the City of

Boston and the City of Lawrence, and a program at Framingham State University, a public state

university in Massachusetts.      The Framingham State University program supported by

AmeriCorps is the Framingham Teacher Residency program, which provides a residency model

for those looking to begin their careers in teaching, and supports residents who commit to teaching

in Framingham Public Schools for a minimum of three years.

       135.    The Michigan Community Service Commission (MCSC) manages grants for 32

subgrantees funded with AmeriCorps grants engaged in the areas of disaster services, public safety,

public health, education, economic mobility, workforce development, youth services, and climate

resiliency across Michigan. For fiscal year 2024, MCSC had over $30 million dollars available in

AmeriCorps grant funding.

       136.    In Minnesota, the State Legislature established the Minnesota Commission on

National and Community Service (“MCNCS”) in 1994 to administer, inter alia, the federal

                                                37
       Case 1:25-cv-01363-DLB         Document 1       Filed 04/29/25      Page 38 of 69



AmeriCorps Program in Minnesota. In 2002, the Minnesota Legislature approved MCNCS

becoming a 501(c)(3) nonprofit organization known as ServeMinnesota, with the broader mission

of advancing national service and volunteerism across Minnesota. As such, ServeMinnesota is

responsible for administering federal AmeriCorps funds to programs throughout Minnesota.

ServeMinnesota disburses allocated AmeriCorps funds through a competitive grantmaking

process to eligible entities to provide critical support such as environmental, education, and

community building resources for Minnesota and its residents.

       137.    Nevada Volunteers is the State Service Commission that administers AmeriCorps

State and National Grants on behalf of Nevada. An independent nonprofit corporation designated

by the Nevada Governor’s Office to implement the AmeriCorps program in Nevada consistent

with the 1993 Act, Nevada Volunteers receives and manages State and National Grants from

AmeriCorps, awards and disburses subgrants, monitors subgrantees for performance and

compliance with grant requirements, provides training and technical assistance, and functions as

liaison between AmeriCorps and subgrantees. From February 2024 to February 2025, Nevada

Volunteers administered 12 programs supported by AmeriCorps State Grants, involving 345

members who completed service at 41 service locations across the state. AmeriCorps provided

$4,350,957 in funding for these projects, plus an additional $500,605 in State Commission

Operations Support. The AmeriCorps program in Nevada includes local programs for the City of

Las Vegas and the City of Henderson. For example, the City of Las Vegas AmeriCorps Program

provides educational support and resources (e.g., K-12 tutoring) for children throughout the city.

The City of Las Vegas AmeriCorps Program supports over 60 servicemember positions.

       138.    The New Jersey Commission on National and Community Service administers

AmeriCorps funding for the State of New Jersey and supports the growth and development of

                                               38
      Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25     Page 39 of 69



national service and volunteerism throughout New Jersey.         In FY 2024, the New Jersey

Commission received at least $6 million in federal formula funding from AmeriCorps, and

managed awards for 23 subgrantees. Grant recipients run projects that—among other things—

promote ecological stewardship, assist individuals in addiction recovery, advance disaster

preparedness, and support vulnerable populations including children and the elderly.

       139.   The New York State Commission on National and Community Service administers

AmeriCorps funding to improve lives, strengthen communities, and foster civic engagement

through service and volunteering across New York.        Supported by the State Commission,

AmeriCorps members in New York provide tutoring to elementary school students, serve in soup

kitchens and homeless shelters, help New Yorkers access public benefits, and provide education

on health issues and disaster preparedness to impoverished communities.

       140.   OregonServes disburses allocated AmeriCorps funds through a competitive

grantmaking process to eligible entities to run AmeriCorps programs and hire AmeriCorps

members to provide services in their community. Grantees selected by OregonServes for 2024–

2025 include the Ethos Rural Outreach Program, which provides K-12 education support in areas

with limited education budgets, and the Salvation Army–Grants Pass Corps, which provides

critical support such as housing, education, and employment resources for homeless individuals.

       141.   Operating within the Pennsylvania Department of Labor and Industry, PennSERVE

is Pennsylvania’s designated state service commission for AmeriCorps. During the 2024–2025

grant year (since July 1, 2024) PennSERVE has managed a total of $17,938,078 from four different

federal grant awards which fund 28 AmeriCorps programs across Pennsylvania. PennSERVE’s

programs currently have nearly 900 AmeriCorps members serving in Pennsylvania at over 250

active host sites spread across 41 counties. Some of the Pennsylvanians benefiting from these

                                               39
       Case 1:25-cv-01363-DLB         Document 1       Filed 04/29/25      Page 40 of 69



AmeriCorps/PennSERVE programs include 90 veterans who are currently receiving peer support

and assistance with mental illness and addiction problems in Butler, PA; 2,483 students in rural

northwestern PA currently receiving academic and social-emotion support before, during, and after

school; over 7,700 K–12 students who have an AmeriCorps teacher in their Greater Philadelphia-

area classrooms; approximately 1,000 low-income residents in southern-central Pennsylvania

receiving access to financial education, free tax preparation, and workforce readiness training;

individuals and families in the Lehigh Valley where AmeriCorps members improve community

stabilization by increasing access to food, housing, income, and health resources; and elementary

school students in Pittsburgh receiving support to improve academic engagement and academic

performance.

       142.    In Vermont, AmeriCorps grants are managed by SerVermont, a state government

office within the Agency of Human Services. SerVermont currently manages 5 grants for

AmeriCorps State and National: the Lyndon Economic Opportunity AmeriCorps Program,

Vermont Housing and Conservation Board, EveryBody Works, Vermont Environmental Careers

and Opportunities; and Vermont Youth Conservation Corps. Subgrantees use the funds they

receive from SerVermont to run programs to benefit Vermonters by recruiting, managing, paying,

and training AmeriCorps members, handling program operations and costs, and monitoring and

supporting subgrantees.   In 2024, SerVermont’s subgrants supported roughly 300 AmeriCorps

members who contributed service across the State of Vermont. Those members supported 7,339

children and youth, treated over 1,800 acres of public land, improved over 130 miles of trail, and

recruited or managed over 22,000 volunteers, among other accomplishments. Since 1994 more

than 6,600 Vermont residents have serviced approximately 9.8 million hours.



                                               40
       Case 1:25-cv-01363-DLB           Document 1        Filed 04/29/25      Page 41 of 69



       143.    In Washington, ServeWashington, part of the State’s Office of Financial

Management, awards and disburses subgrants from both competitive and formula funding. Until

April 25, ServeWashington managed grants for 22 subgrantees, including the Washington State

Department of Veterans’ Affairs, the Washington State Department of Employment Security,

Chelan-Douglas County Community Action Council, Girl Scouts of Western Washington, United

Way of King County, United Way of Benton and Franklin Counties, College Possible, and

Washington Association of Child Advocate Programs, among others.               These grants funded

AmeriCorps volunteers to work at food banks, help communities build climate resilience and

prepare for disasters, tutor children in reading, rehabilitate low-income housing, plant trees, mentor

at-risk youth, provide services to home-bound seniors, provide services to at risk veterans and

those transitioning from the military, and reduce gang involvement in schools and neighborhoods,

among many other things.

     V.        The Administration’s Prior Efforts to Dismantle Federal Agencies

       144.    This case presents only the latest chapter in an ongoing saga, as the Administration

attempts to dismantle federal agencies without Congressional approval.

       145.    On the first day of his second term in office, President Trump issued an Executive

Order creating a so-called “Department of Government Efficiency”—in reality, a redesignation of

the preexisting United States Digital Service—to “improve the quality and efficiency of

government-wide software, network infrastructure, and information technology (IT) systems.”

Exec. Order No. 14,158, Establishing and Implementing the President’s “Department of

Government Efficiency,” § 4(a) (Jan. 20, 2025).




                                                 41
       Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25      Page 42 of 69



       146.    The Executive Order directed agency heads to “establish within their respective

Agencies a DOGE Team of at least four employees, which may include Special Government

Employees, hired or assigned within thirty days of the date of this Order.” Id. § 3(c).

       147.    Notwithstanding DOGE’s nominal focus on information technology, DOGE Teams

have “swe[pt] through government departments looking for spending and staff cuts.” 22

       148.    In particular, DOGE and the Administration have targeted politically disfavored

agencies—such as the U.S. Agency for International Development (USAID), 23 the Consumer

Financial Protection Bureau (CFPB),24 the U.S. Institute of Peace,25 the Institute of Museum and




       22
         Tim Reid, Explainer: What is Musk's DOGE, the secretive unit operating in the public
eye?, Reuters, Mar. 24, 2025, https://www.reuters.com/world/us/what-is-elon-musks-doge-how-
much-money-has-it-saved-us-taxpayers-2025-03-04/.
       23
             Ellen Knickmeyer, The Trump administration is putting USAID staffers on leave
worldwide and firing at least 1,600, AP, Feb. 23, 2025, https://apnews.com/article/usaid-trump-
musk-foreign-aid-firings-a3af8ce6ef17878b718c8e2ed3bf98e4; Fatma Tanis, USAID terminates
nearly all its remaining employees, NPR, Mar. 28, 2025, https://www.npr.org/sections/goats-and-
soda/2025/03/28/g-s1-56968/usaid-terminates-nearly-all-its-remaining-employees; see also Exec.
Order No. 14,169, Reevaluating and Realigning United States Foreign Aid § 3(a) (imposing a 90-
day pause in United States foreign development assistance).
       24
          Chris Megerian, Nearly 90% of Consumer Financial Protection Bureau cut as Trump’s
government downsizing continues, AP, Apr. 17, 2025, https://apnews.com/article/donald-trump-
doge-cfpb-elon-musk-456b747c367fccbcf3b74d2893cd1a35.
       25
           Gary Fields & Chris Megerian, Most US Institute of Peace workers get late-night word
of their mass firing, AP, Mar. 29, 2025, https://apnews.com/article/us-institute-peace-trump-doge-
mass-firing-746aa4fce9ad35fe17e8e22ce29417e3; see Exec. Order No. 14,217, Commencing the
Reduction of the Federal Bureaucracy § 2 (Feb. 19, 2025) (directing the U.S. Institute of Peace
and three other federal agencies to “eliminate[]” their “non-statutory components and functions . .
. to the maximum extent consistent with applicable law,” and to “reduce the performance of their
statutory functions and associated personnel to the minimum presence and function required by
law”).
                                                42
       Case 1:25-cv-01363-DLB          Document 1        Filed 04/29/25     Page 43 of 69



Library Services (IMLS),26 and the Department of Education27—by terminating their grants and

contracts, firing their personnel, and eliminating their programs.

       149.    In several instances, the Administration first placed employees on administrative

leave and later conducted RIFs to terminate those employees. 28

       150.    Congress did not authorize any of those reductions. To the contrary, on March 15,

Congress passed—and President Trump signed—an appropriations act that reappropriated funding

for nearly all of these agencies at their 2024 levels.29 Full-Year Continuing Appropriations Act,

2025, § 1101(a)(8) & (11), 139 Stat. at 10–12 (reauthorizing appropriations from Further



       26
          Andrew Limbong, Entire staff at federal agency that funds libraries and museums put
on leave, NPR, Mar. 31, 2025, https://www.npr.org/2025/03/31/nx-s1-5334415/doge-institute-of-
museum-and-library-services; see Exec. Order No. 14,238, Continuing the Reduction of the
Federal Bureaucracy § 2(a) (Mar. 14, 2025) (directing the IMLS and six other federal agencies to
“eliminate[]” their “non-statutory components and functions . . . to the maximum extent consistent
with applicable law,” and to “reduce the performance of their statutory functions and associated
personnel to the minimum presence and function required by law”).
       27
             Jodi S. Cohen & Jennifer Smith Richards, Elon Musk’s Team Decimates Education
Department Arm That Tracks National School Performance, ProPublica, Feb. 11, 2025,
https://www.propublica.org/article/department-of-education-institute-education-science-
contracts-doge; see Exec. Order No. 14,242, Improving Education Outcomes by Empowering
Parents, States, and Communities (ordering the Secretary of Education to “take all necessary steps
to facilitate the closure of the Department of Education and return authority over education to the
States and local communities”).
       28
           E.g., Audrey Fahlberg, Commerce Department Lays Off Dozens of Minority Business
Development        Agency      Employees,     National       Review,      Apr.        10,    2025,
https://www.nationalreview.com/news/exclusive-commerce-department-lays-off-32-minority-
business-development-agency-employees/ (“The Commerce Department sent reduction in force
(RIF) notices to 32 employees working in the Minority Business Development Agency (MBDA)
this week in accordance with the White House’s directive to shutter the agency . . . . Wednesday’s
layoffs came after dozens of employees working at the agency were placed on administrative leave
in late March.”).
       29
          The appropriations act did not cover the CFPB, which is funded by quarterly transfers
from the Federal Reserve rather than annual appropriations. See Cong. Research Serv., The
Consumer Financial Protection Bureau Budget: Background, Trends, and Policy Options (2025),
https://www.congress.gov/crs-product/R48295.
                                                 43
       Case 1:25-cv-01363-DLB          Document 1        Filed 04/29/25     Page 44 of 69



Consolidated Appropriations Act, 2024, div. D, tits. III (Department of Education) & IV (IMLS);

div. F, tits. I (U.S. Institute of Peace) & II (USAID), 138 Stat. at 681–93, 697, 736, 739–40).

       151.    Simultaneously, the Administration has tried unilaterally to reduce the size of the

federal workforce. Barely one week after President Trump’s inauguration, the Office of Personnel

Management (OPM) sent a government-wide email that purported to extend “deferred resignation

offers,” under which federal employees who agreed to resign would be placed on paid

administrative leave with no work responsibilities through the end of September. 30

       152.    After fewer federal workers than expected took the “deferred resignation” offer, the

Administration began firing employees en masse. In mid-February, OPM directed agencies to

terminate workers in probationary status, leading to at least 24,000 layoffs. 31 See Maryland v.

U.S. Dep’t of Agric., — F. Supp. 3d —, 2025 WL 973159, at *3 (D. Md. Apr. 1, 2025).

       153.    The Administration’s wave of cuts has been challenged in numerous lawsuits,

including by the Plaintiff States. See, e.g., Maryland v. U.S. Dep’t of Agriculture, No. 1:25-cv-

00748 (D. Md.) (mass firing of probationary employees); New York v. McMahon, No. 1:25-cv-

10601 (D. Mass.) (Department of Education); Rhode Island v. Trump, No. 25-cv-00128 (D.R.I.)

(IMLS).




       30
           Chris Cameron et al., Trump Administration Entices Millions of Federal Workers to
Resign, N.Y. Times, Jan. 28, 2025, https://www.nytimes.com/2025/01/28/us/politics/trump-
buyouts-federal-workers.html. The email cited no authority that would permit eight months of
administrative leave when, by statute, employees may be placed on administrative leave for “not
more than a total of 10 work days” per year. 5 U.S.C. § 6329a(b)(1).
       31
          Madeleine Ngo et al., Trump Officials Escalate Layoffs, Targeting Most of 200,000
Workers       on       Probation,      N.Y.         Times        (Feb.       13,     2025),
https://www.nytimes.com/2025/02/13/us/politics/trump-federal-personnel-layoffs.html.
                                                44
       Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25      Page 45 of 69



       154.    Already, two district courts have enjoined in whole or in part the Administration’s

attempts to gut federal agencies (specifically, USAID and the CFPB).32 See AIDS Vaccine Advoc.

Coal. v. U.S. Dep’t of State, — F. Supp. 3d —, 2025 WL 752378, at *10–*11, *14–*17 (D.D.C.

Mar. 10, 2025) (plaintiffs were likely to succeed on claims that the Administration (a) lacked a

reasoned basis for categorically suspending foreign aid programs, and (b) violated the separation

of powers by refusing to spend the funds that Congress appropriated); Nat’l Treasury Emps. Union

v. Vought, — F. Supp. 3d —, 2025 WL 942772, at *20, *40 (D.D.C. Mar. 28, 2025) (attempts to

shut down the CFPB were likely unconstitutional and contrary to law).

       155.    Nevertheless, the Administration remains intent on continuing—and expanding—

its assault on the federal government. On February 11, the President issued an executive order

directing every federal agency to “submit a plan to reduce the size of the Federal Government’s

workforce,” and to “promptly undertake preparations to initiate large-scale reductions in force

(RIFs).” Exec. Order No. 14,210, Implementing the President’s “Department of Government

Efficiency” Workforce Optimization Initiative, § 3(a), (c) (Feb. 11, 2025). The President required

these RIFs to prioritize the elimination of “[a]ll offices that perform functions not mandated by

statute or other law.” Id. § 3(c). The Office of Management and Budget (OMB) and OPM issued




       32
           Two other district court enjoined the Administration’s efforts to fire tens of thousands
of probationary employees. Am. Fed’n of Gov’t Emps., AFL-CIO v. U.S. OPM, — F. Supp. 3d —
, 2025 WL 820782 (N.D. Cal. Mar. 14, 2025); Maryland v. U.S. Dep’t of Agric., — F. Supp. 3d —
, 2025 WL 973159, at *3 (D. Md. Apr. 1, 2025). Both decisions have been stayed pending appeal
for procedural reasons. OPM v. AFGE, No. 24A904, 2025 WL 1035208, at *1 (U.S. Apr. 8, 2025)
(per curiam); Maryland v. U.S. Dep’t of Agric., No. 25-1248, 2025 WL 1073657, at *1 (4th Cir.
Apr. 9, 2025) (per curiam).
                                                45
       Case 1:25-cv-01363-DLB           Document 1       Filed 04/29/25      Page 46 of 69



a companion memorandum emphasizing that agencies should “focus on the maximum elimination

of functions that are not statutorily mandated.” 33

          156.   On February 26, the President issued an executive order “commenc[ing] a

transformation in Federal spending on contracts, grants, and loans,” which required each agency

head (“in consultation with the agency’s DOGE Team Lead”) to “review all existing covered

contracts and grants and, where appropriate and consistent with applicable law, terminate or

modify (including through renegotiation) such covered contracts and grants to reduce overall

Federal spending or reallocate spending to promote efficiency and advance the policies of my

Administration.”     Exec. Order No. 14,222, Implementing the President’s “Department of

Government Efficiency” Cost Efficiency Initiative §§ 1 & 3(b) (Feb. 26, 2025). The order directed

agencies to “prioritize the review of funds disbursed under covered contracts and grants to

educational institutions and foreign entities for waste, fraud, and abuse.” Id. § 3(b).

    VI.          The Administration’s Unlawful Effort to Dismantle AmeriCorps

          157.   The Administration made a decision to dismantle AmeriCorps. This decision is a

final agency action, and is being effectuated, among other ways, by releasing more than 750 NCCC

members, placing most agency staff on administrative leave in anticipation of terminations, and

cancelling contracts and grants.

          158.   As described by AmeriCorps’ Interim Agency Head, Jennifer Bastress Tahmasebi,

in an email to AmeriCorps’ Board: “A team from DOGE arrived last Tuesday [April 8]. Since


          33
            See Memorandum for Heads of Executive Agencies and Departments, from Russell T.
Vought, Director, OMB, and Charles Ezell, Acting Director, OPM, Guidance on Agency RIFs and
Reorganization Plans Requested by “Implementing the President’s ‘Department of Government
Efficiency’ Workforce Optimization Initiative,” at 2 (Feb. 26, 2025), https://www.opm.gov/policy-
data-oversight/latest-memos/guidance-on-agency-rif-and-reorganization-plans-requested-by-
implementing-the-president-s-department-of-government-efficiency-workforce-optimization-
initiative.pdf.
                                                  46
       Case 1:25-cv-01363-DLB         Document 1       Filed 04/29/25      Page 47 of 69



they arrived[,] myself, the acting Chief Operating Officer (Jill Graham), the acting General

Counsel (Jana Maser), the acting Deputy General Counsel (Liz Appel) have worked with them

around Administration goals to cut staff, contracts, contractors, and agency deliverables.” A true

and correct copy of the Bastress Tahmasebi Email is attached as Ex. C.

       159.    “The DOGE team requested and we have granted access to all our systems

including email.” Id.

       160.    Bastress Tahmasebi further explained that AmeriCorps’ leadership “engaged in

conversations with the DOGE team on what the staffing structure should look like consistent with

Administration goals.” Id.

       161.    Subsequent to those conversations, on April 15, all members of AmeriCorps NCCC

received a memorandum from Ken Goodson, NCCC National Director, that provided “official

notification that you are being released from the AmeriCorps NCCC program effective April 30 th,

2025. Effective April 30th, 2025, your status as an AmeriCorps NCCC Corps Member will

terminate and your NCCC provided benefits will be discontinued.” A true and correct copy of the

Goodson Memorandum is attached as Ex. A.

       162.    Because AmeriCorps regulations do not provide for termination of NCCC members

by AmeriCorps, without cause, before the end of their term of service, AmeriCorps described this

termination as “approving your early release . . . for compelling personal circumstances.” Ex. A;

45 C.F.R. § 2522.230(a).

       163.    The Goodson Memorandum continued: “Your early departure is considered

compelling as it results from program circumstances beyond your control.” Ex. A.

       164.    An email, sent from the general AmeriCorps NCCC mailbox, accompanying the

Goodson Memorandum stated that: “In alignment with the Trump-Vance administration priorities

                                               47
       Case 1:25-cv-01363-DLB           Document 1       Filed 04/29/25      Page 48 of 69



and Executive Order 14,222 ‘Implementing the President’s Department of Government Efficiency

Cost Efficiency Initiative,’ AmeriCorps NCCC is working within new operational parameters that

impact the program’s ability to sustain program operations.” 34 A true and correct copy of this email

is attached as Exhibit B.

       165.    Similarly, Defendant Bastress Tahmasebi attributed the decision to shut down

NCCC to a “shift in the staff footprint” resulting from DOGE’s deferred resignation program

“combined with additional efforts to downsize the agency through reductions in force.” Ex. C.

       166.    As a result of the Goodson Memorandum, more than 750 AmeriCorps NCCC

members were placed on administrative leave. Id.

       167.    The next day, Bastress Tahmasebi issued a memorandum that “put 85% of

[AmeriCorps’] staff on administrative leave.” Id. A true and exact copy of the Bastress Tahmasebi

Memorandum is attached as Ex. D.

       168.    The Bastress Tahmasebi Memorandum stated: “During the period that you are on

administrative leave you are not to enter AmeriCorps premises, access AmeriCorps systems, or

attempt to use your position or authority with AmeriCorps in any way without . . . prior permission

of a supervisor in your chain of command.” Id.

       169.    In conjunction with the acceptance of “deferred resignation” offers, the Bastress

Tahmasebi Memorandum reduced AmeriCorps’ active workforce to 115 employees (106 core staff

and 9 employees of AmeriCorps’ Office of General Counsel). Ex. C. That is less than one-fifth

as many personnel as AmeriCorps had on January 20.




       34
        Holly Taft, Doge Cuts Pull AmeriCorps Volunteers Off of Disaster Relief Jobs, WIRED,
Apr. 16, 2025, https://www.wired.com/story/doge-cuts-americorps-volunteers-disaster-relief-
jobs/.
                                                 48
       Case 1:25-cv-01363-DLB          Document 1        Filed 04/29/25     Page 49 of 69



       170.    On April 24, AmeriCorps began to issue RIF notices to employees on

administrative leave. A true and correct copy of one RIF notice is attached as Exhibit E.

       171.    According to news reports, and as has been the case at other agencies targeted by

DOGE, the intent is to “cut [AmeriCorps’] workforce by ‘up to 50 percent or more.’” 35 Indeed,

upon information and belief, the vast majority of those AmeriCorps employees who had been

placed on administrative leave either accepted deferred resignation offers or received a RIF notice.

       172.    AmeriCorps has thus terminated or barred from work the vast majority of its

members and employees—including those responsible for allocating federal funds and performing

AmeriCorps’ statutorily mandated duties. See, e.g., 42 U.S.C. § 12657.

       173.    At the same time, AmeriCorps, at the behest of DOGE, has terminated “almost all”

of its outside contractors, who performed functions including information technology, human

resources, and financial services. Ex. C, at 2. These functions are now supposedly being

“transfer[ed]” to the few remaining staff. Id.

       174.    In reality, immediately placing nearly 85% of AmeriCorps’ core staff on

administrative leave has disabled AmeriCorps from performing its statutory and regulatory

obligations.

       175.    For example, AmeriCorps’ Office of Grant Management is responsible for

reviewing all grant applications and components (including national competitive and state formula

packages) for eligibility and compliance. Yet, upon information and belief, Defendants’ actions

have reduced the Office of Grant Management’s staff from 25 employees to only one. The level

of staffing that remains at AmeriCorps following the Defendants’ actions is inadequate to permit



       35
           Tobi Raji, AmeriCorps staff members placed on leave after DOGE visit, Wash. Post,
Apr. 16, 2025, https://www.washingtonpost.com/nation/2025/04/16/americorps-cuts-doge-trump/.
                                                 49
       Case 1:25-cv-01363-DLB            Document 1      Filed 04/29/25      Page 50 of 69



AmeriCorps to timely or accurately review applications for grants of funds that are statutorily

allocated to Plaintiff States.

        176.    As one other example of how the cuts in AmeriCorps staffing disable it from

performing required duties, AmeriCorps is responsible for drafting annual NOFOs that provide

public notice of each grant it plans to award, including funds the AmeriCorps is statutorily required

to allocate to the Plaintiff States. 2 C.F.R. § 2205.100; id. § 200.204 (requiring NOFOs for

competitive awards and setting their minimum content.). Upon information and belief, the staff

responsible for drafting the annual NOFOs has been cut from 10 to 3. The level of staffing that

remains at AmeriCorps following the Defendants’ actions is inadequate to enable AmeriCorps to

perform its obligation to timely draft the required NOFOs.

        177.    Next, after business hours on Friday, April 25, Defendants continued executing

their decision to dismantle AmeriCorps by notifying grantees that their programs—collectively

funded by nearly $400 million in AmeriCorps grants, or approximately 41% of AmeriCorps’

budget—were immediately terminated.36

        178.    According to the Summary worksheet of an Excel workbook that was last modified

by Defendant Bastress Tahmasebi on April 21, of at least 1,031 programs the Defendants cut, 838

(more than four-fifths) were AmeriCorps State and National programs funded by subgrants

awarded and administered by State Service Commissions. A true and correct PDF copy of the

Excel workbook, including a printout of metadata showing that Defendant Bastress Tahmasebi last

edited the file, is attached as Exhibit F.




        36
           Tobi Rajj, DOGE orders major cut to AmeriCorps funding, imperiling agency’s work,
Wash. Post, April 25, 2025, https://www.washingtonpost.com/nation/2025/04/25/americorps-
grant-cuts-doge/.
                                                 50
       Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25      Page 51 of 69



       179.    By dollar value, of the $396,509,896 in grant-supported programs that were

terminated, more than 93% ($371,129,870) were administered by the AmeriCorps State and

National Office. Id. That constitutes two-thirds of the $557,094,000 that Congress directed

AmeriCorps to assign to its State and National Grants for FY 2024. See 170 Cong. Rec. H2060–

61 (Mar. 22, 2024).

       180.    Defendants have cited no authority that permits them to terminate programs funded

as subgrants to grants awarded to State Service Commissions.

       181.    The Data worksheet of the Excel workbook provides details on each of at least

1,031 programs that the Defendants cut, revealing that every state and several territories were

impacted. Ex. F.

       182.    Defendants’ notices not only terminated, collectively, nearly $400 million of

funding to service programs, they also directed the immediate cessation of all volunteer service

performed in connection with those programs.

       183.    For example, the notice received by the Delaware Governor’s Commission with

respect to AmeriCorps State and National Grants stated in pertinent part:

       Effective immediately, the AmeriCorps award subrecipient(s) included in the
       attached spreadsheet is/are being terminated per 2 CFR 200.340(a)(4) because it
       has been determined that the award no longer effectuates agency priorities. You
       must immediately cease all award activities. This is a final agency action and is not
       administratively appealable.

       ...

       State commissions and prime grantees should immediately notify subgrantees,
       operating sites, and members and follow grant close-out procedures. All member
       activities should cease immediately. Members should be exited for compelling
       personal circumstances (CPC). The program should document that the member
       was exited for compelling personal circumstances due to the agency’s termination
       of the grant and program closure.

                                                51
       Case 1:25-cv-01363-DLB          Document 1        Filed 04/29/25     Page 52 of 69



A true and correct copy of that notice is attached as Ex. G.

       184.    Delaware also received a notice from Defendants that terminated the VISTA

program in Delaware. A true and correct version of that is attached as Ex. H.

       185.    The notice terminating the VISTA program duplicated the language of the notice

terminating AmeriCorps State and National Grants, and added: “If you have [VISTA] members

active on your award/agreement, all members will be removed from your project effective

immediately.” Ex. H.

       186.    The regulation cited by Defendants, 2 C.F.R. § 200.340(a)(4), does not permit

Defendants to change the priorities applicable to grants by AmeriCorps on a whim during a given

fiscal year. See 42 U.S.C. § 12572(f) (requiring AmeriCorps to give notice of priorities for

competitive grants that will be in effect “for a fiscal year,” and providing that the States, not

AmeriCorps, set the priorities for formula grants under 42 U.S.C. § 12638(e)(1)); see also 45

C.F.R. § 2522.460(b) (“A State may apply priorities different than those of AmeriCorps in

selecting its formula programs.”). Rather, during a fiscal year, AmeriCorps only “may . . . suspend

or terminate payments under a contract or grant providing assistance under this subchapter, or

revoke the designation of positions . . . as approved national service positions,” when AmeriCorps

“determines there is a material failure to comply with this subchapter or the applicable terms and

conditions of any such grant or contract issued pursuant to this subchapter.” 42 U.S.C. §

12636(a)(1).

       187.    Even upon finding “a material failure,” AmeriCorps “must provide the recipient

reasonable notice and opportunity for a full and fair hearing.” 45 C.F.R. § 2540.400(b); see 42

U.S.C. § 12636(a)(2)(B). AmeriCorps must afford notice that it “intends to terminate or revoke

assistance,” describe “the grounds and the effective date for the proposed termination or

                                                 52
       Case 1:25-cv-01363-DLB             Document 1      Filed 04/29/25      Page 53 of 69



revocation,” and allow the recipient “at least 7 calendar days” to “show[] good cause why such

assistance should not be terminated or revoked.” 45 C.F.R. § 2540.400(b)(1). None of that

occurred here. Defendants did not even bother to explain why—under an inapposite regulation —

“the award[s] no longer effectuate[d] agency priorities.” Cf. 2 C.F.R. 200.340(a)(4).

          188.   These program closures, conducted without the required notice and opportunity to

be heard, are part and parcel of the Administration’s attempt to dismantle AmeriCorps.

   VII.          Harms to the Plaintiff States

          189.   Plaintiff States will be directly and irreparably harmed by the decision to dismantle

AmeriCorps and the actions taken to implement that decision. Indeed, irreparable harms already

are being felt by the Plaintiff States.

          190.   As of April 25, Defendants immediately closed a majority of AmeriCorps programs

in many Plaintiff States. In Delaware, for example, Defendants eliminated nine out of ten

programs that had been awarded more than $1.2 million in funding for FY 2025. Ex. G. Without

notice, Defendants terminated all but one State-supported program in Washington and every State-

supported program in Michigan.

          191.   In Nevada, Defendants shut down 8 AmeriCorps programs. In Illinois, they

eliminated 28 programs and impacted 632 members. In Kentucky, they closed 21 programs, ended

service for 691 members, and caused the loss of more than $9 million in federal funds. And in

New York, Defendants terminated 40 programs operating at more than 300 locations across the

State and prematurely ended the service of over 1,200 AmeriCorps members.

          192.   Defendants also demanded that “[a]ll member activities should cease immediately.”

Id. Plaintiff States have been forced to issue immediate stop-work orders to their service projects

or direct those projects to take steps to wind down their efforts.

                                                  53
       Case 1:25-cv-01363-DLB           Document 1        Filed 04/29/25      Page 54 of 69



       193.    Under the Terms and Conditions for AmeriCorps State and National Grants,

“[m]embers must be exited within 30 days of the end of their term of service.” 37 Defendants’ April

25 notices direct that “[m]embers should be exited for compelling personal circumstances (CPC),”

Ex. G; therefore, Plaintiff States have until May 25, at latest, to exit members from their terminated

programs, after which it will be impracticable to return them to service.

       194.    In addition to the wave of terminations, Plaintiff States have been and will continue

to be harmed by the other manifestations of Defendants’ decision to dismantle AmeriCorps.

       195.    An 85% reduction in AmeriCorps’ personnel will leave the agency incapable of

fulfilling its mission or carrying out its statutorily mandated purposes. In the opinion of state

employees who interact with AmeriCorps, the agency’s few remaining staff members will not be

able to administer existing grants or timely process requests for new ones. Indeed, AmeriCorps

already has felt the need to terminate just under half of its grant funding. Following the same

pattern, for previous agencies targeted by the Administration, employees’ placement on

administrative leave has been followed quickly by waves of grant terminations. 38

       196.    AmeriCorps’ Office of Grant Administration (which, upon information and belief,

has been reduced to one employee) and AmeriCorps State/National (which, upon information and

belief, has been reduced to three employees) will not be able to process grant applications, conduct


       37
          AmeriCorps, 2024 Terms and Conditions for AmeriCorps State and National Grants 5,
https://www.americorps.gov/sites/default/files/document/2024ASNProgram508TC.pdf       (last
accessed Apr. 28, 2025).
       38
           E.g., Melissa Angell, Trump Severs Funding for Minority Business Centers as He
Dismantles the MBDA, Inc., Apr. 21, 2025 (“Numerous MBDA business centers received emails
last Thursday notifying them that the agency was axing their federal grants immediately,
explaining that the funding doled out was ‘no longer consistent with the agency’s priorities and no
longer serves the interest of the United States and the MBDA program.’”),
https://www.inc.com/melissa-angell/trump-severs-funding-for-minority-business-centers-as-he-
dismantles-the-mbda/91178803.
                                                 54
       Case 1:25-cv-01363-DLB           Document 1        Filed 04/29/25      Page 55 of 69



quality reviews, or award funds quickly enough to support existing service programs. Already,

the Plaintiff States have experienced unusual delays in the application process for next fiscal year’s

State and National Competitive Grants: AmeriCorps has not notified successful applicants by

“mid-April 2025” as promised in the NOFO.

       197.    Further delays in the State and National Competitive Grant awards also will impact

Plaintiff States’ ability to submit timely applications for formula-based funds. Because most

AmeriCorps projects follow the academic calendar, States need to submit complete grant packages

by June 13 to ensure that final awards are executed, members enrolled, and programs funded in

time for the coming school year. The ongoing delays in finalizing formula awards as a result of

the dismantling of AmeriCorps will jeopardize school-based projects entirely.

       198.    Simultaneously, AmeriCorps’ remaining staff must complete the process for

awarding support and investment grants to State Service Commissions. Plaintiff States rely on

these funds being available on July 1 to support their Service Commissions’ day-to-day operations.

Defendants’ chaotic dismantling of the agency risks delaying those funds.

       199.    Upon information and belief, AmeriCorps’ National Service Trust put all but three

employees on administrative leave. Those employees will struggle to certify members’ eligibility

for education awards, process enrollments and exits, track members’ hours, or ensure proper

disbursement of federal funds. Delays in or loss of members’ education awards will harm State

universities whose tuition is paid using those awards.

       200.    AmeriCorps also terminated its contract with the developer that maintains its

eGrants grant management portal. Any technical issues with that portal that arise will go

unresolved, causing further delays to grant awards or amendments.



                                                 55
       Case 1:25-cv-01363-DLB           Document 1        Filed 04/29/25      Page 56 of 69



       201.    Already, AmeriCorps regional offices have gone silent, cutting off support and

communication that the Plaintiff States rely on for matters such as member enrollment issues,

member complaints and grievances, and correcting exit records. AmeriCorps staff who formerly

communicated with Plaintiff States’ State Service Commissions on a daily basis have been

unreachable since Defendants began their efforts to dismantle AmeriCorps.

       202.    AmeriCorps’ national office has abruptly curtailed regular meetings and

coordination around recruitment, branding, and communications strategy for the coming cycle, as

well as the ongoing development of the new grants management technology system scheduled to

be rolled out in the coming year.

       203.    Likewise, AmeriCorps’ remaining staff will not be able to fulfill statutory directives

such as “conduct[ing] appropriate training for and provid[ing] technical assistance to . . . programs

receiving assistance under the national service laws.” 42 U.S.C. § 12657(a)(1).

       204.    These harms will be felt in each of the Plaintiff States. For instance, State agencies

and universities at which AmeriCorps members are currently enrolled will lose that valuable

service. States either will need to contribute their own funds to fill the gap or, more often, shutter

the programs entirely. Partner organizations that rely on AmeriCorps members will be similarly

limited or closed, and the vulnerable populations served by these organizations—such as

immigrants, refugees, students, and the elderly—will place increased demand on State services.

       205.    States and their universities will also receive less tuition in the form of education

awards paid to AmeriCorps members. The sudden termination of AmeriCorps programs will harm

universities’ reputations and impede their outreach to local communities. So too, universities’

mission to engage with and serve their regions will irreparably suffer without AmeriCorps support.



                                                 56
       Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25      Page 57 of 69



       206.    Finally, the abrupt and chaotic dismantling of AmeriCorps will discourage

participation in national service and dissuade local organizations from partnering with AmeriCorps

programs in the future. Defendants’ arbitrary termination of millions of dollars’ worth of programs

during National Volunteer Week—even as President Trump “call[ed] upon all Americans to

observe this week by volunteering in service projects across our country and pledging to make

service a part of their daily lives”39—makes a mockery of AmeriCorps’ statutory mission to

“renew the ethic of civic responsibility and the spirit of community and service throughout the

varied and diverse communities of the United States.” 42 U.S.C. § 12501(b)(2).

                                    CLAIMS FOR RELIEF

                                          COUNT I
                                 Administrative Procedure Act
                                      Contrary to Law

       207.    Plaintiffs incorporate by reference the allegations contained in the preceding

paragraphs.

       208.    Defendants include an “agency” under the APA. 5 U.S.C. §§ 551(1), 701.

       209.    Defendants took final agency actions subject to judicial review when they made the

decision to dismantle AmeriCorps and implemented that decision by, among other things, placing

nearly all AmeriCorps staff and all NCCC members on administrative leave or hold pending

termination, and closing more than 1,000 AmeriCorps programs.

       210.    The APA requires courts to “hold unlawful and set aside” agency actions that are

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” Id.

§ 706(2).



       39
          Presidential Proclamation of National Volunteer Week, 2025 (Apr. 23, 2025),
https://www.whitehouse.gov/presidential-actions/2025/04/national-volunteer-week-2025/.
                                                57
       Case 1:25-cv-01363-DLB         Document 1       Filed 04/29/25     Page 58 of 69



       211.   Defendants have acted contrary to law by closing AmeriCorps programs en masse

and terminating the staff and resources AmeriCorps needs to carry out its mission.

       212.   Specifically, the drastic reductions to AmeriCorps staffing, operations, and

programs defy statutory directives requiring AmeriCorps to spend $975,525,000 “to carry out” the

1990 and 1973 Acts, Further Consolidated Appropriations Act, 2024, 138 Stat. at 694; to spend

$99,686,000 on employee salaries and other “necessary expenses of administration,” id., 138 Stat.

at 695; to “provide[] for an office of the Corporation for each State,” 42 U.S.C. § 12651h; to

“conduct appropriate training for and provide technical assistance to . . . programs receiving

assistance under the national service laws,” id. § 12657(a)(1); and to “grant assistance . . . to

accomplish the goals of the VISTA program.” Id. § 4960.

       213.   Defendants also acted contrary to law by closing approximately $400 million worth

of AmeriCorps programs without providing Plaintiff States with notice or an opportunity to be

heard. See 42 U.S.C. § 12636; 45 C.F.R. § 2540.400.

       214.   Defendants also acted contrary to law by closing approximately $400 million worth

of AmeriCorps programs without a legitimate or legal basis.

       215.   Finally, Defendants acted contrary to law by defying Congress’s directive that

AmeriCorps “make any significant changes to program requirements, service delivery or policy

only through public notice and comment rulemaking.” Further Consolidated Appropriations Act,

2024 § 401, 138 Stat. at 695 (amounts reappropriated “under the authority and conditions provided

in” FY 2024 by Full-Year Continuing Appropriations Act, 2025, § 1101(a)(8), 139 Stat. at 11).

       216.   Under the appropriations acts, Congress “explicitly required use of notice and

comment” when AmeriCorps makes any significant changes to program requirements, service



                                               58
       Case 1:25-cv-01363-DLB         Document 1       Filed 04/29/25      Page 59 of 69



delivery or policy, and AmeriCorps’ attempt to make such changes here without “notice and

comment is contrary to law.” See Michigan v. EPA, 268 F.3d 1075, 1088 (D.C. Cir. 2001).

       217.    Accordingly, Plaintiffs are entitled to an order and judgment, and to a preliminary

and permanent injunction, holding unlawful and setting aside the decision to dismantle

AmeriCorps and enjoining any action taken to enforce or implement it.

                                        COUNT II
                                Administrative Procedure Act
                                   Notice and Comment

       218.    Plaintiffs incorporate by reference the allegations contained in the preceding

paragraphs.

       219.    The APA requires that a reviewing court “hold unlawful and set aside agency

action, findings, and conclusions found to be . . . without observance of procedure required by

law.” 5 U.S.C. § 706(2)(D).

       220.    In the FY 2024 appropriations act, Congress explicitly required that Defendants

“shall make any significant changes to program requirements, service delivery or policy only

through public notice and comment rulemaking.” Further Consolidated Appropriations Act, 2024

§ 401, 138 Stat. at 695.

       221.    In the FY 2025 appropriations act, Congress reappropriated the amounts from the

FY 2024 appropriations act, “under the authority and conditions provided in” that Act. Full-Year

Continuing Appropriations Act, 2025, § 1101(a)(8), 139 Stat. at 11.

       222.    In effectuating the decision to dismantle AmeriCorps by placing nearly all

AmeriCorps staff and all NCCC members on administrative leave or hold pending termination,

and by closing nearly $400 million worth of AmeriCorps programs, Defendants made “significant

changes to program requirements, service delivery or policy.”

                                               59
      Case 1:25-cv-01363-DLB          Document 1       Filed 04/29/25     Page 60 of 69



       223.   Defendants’ actions could lawfully be issued only following public notice and

comment rulemaking.

       224.   Without having proceeded through notice-and-comment procedures, Defendants’

actions are procedurally invalid under the APA.

       225.   Accordingly, plaintiffs are entitled to an order and judgment, and to a preliminary

and permanent injunction, holding unlawful and setting aside the decision to dismantle

AmeriCorps and enjoining any action taken to enforce or implement it.

                                        COUNT III
                                Administrative Procedure Act
                                  Arbitrary and Capricious

       226.   Plaintiffs incorporate by reference the allegations contained in the preceding

paragraphs.

       227.   Defendants include an “agency” under the APA. 5 U.S.C. §§ 551(1), 701.

       228.   The APA requires courts to “hold unlawful and set aside” agency actions that are

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” Id.

§ 706(2).

       229.   The decision to dismantle AmeriCorps and Defendants’ actions to drastically

curtail or terminate AmeriCorps’ statutorily mandated activities—including by placing 85% of

AmeriCorps staff on leave, placing all AmeriCorps NCCC members on administrative hold

pending termination effective April 30, 2025, commencing large-scale RIFs, and terminating

approximately $400 million worth of AmeriCorps programs—constitute final agency actions

under the APA.

       230.   The decision to dismantle AmeriCorps was arbitrary and capricious because

Defendants provided no reasoned explanation for their decision; failed to consider the legitimate

                                               60
       Case 1:25-cv-01363-DLB          Document 1        Filed 04/29/25     Page 61 of 69



reliance interests of States, grantees, the public, and other interested entities; failed to conduct

statutorily mandated hearings during which those interests may have been presented, failed to

consider reasonable alternatives; and failed to weigh the purported benefits against the costs.

       231.    Accordingly, plaintiffs are entitled to an order and judgment, and to a preliminary

and permanent injunction, holding unlawful and setting aside the decision to dismantle

AmeriCorps and enjoining any action taken to enforce or implement it.

                                          COUNT IV
                                        U.S. Constitution
                                      Separation of Powers

       232.    Plaintiffs incorporate by reference the allegations contained in the preceding

paragraphs.

       233.    Article I, Section 1 of the United States Constitution enumerates that: “[a]ll

legislative Powers herein granted shall be vested in . . . Congress.” U.S. Const. art. I, § 1. The

Constitution also “exclusively grants the power of the purse to Congress, not the President.” City

& County of San Francisco v. Trump, 897 F.3d 1225, 1231 (9th Cir. 2018).

       234.    The Executive’s powers are limited to those specifically conferred by “an act of

Congress or from the Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

585 (1952). The Executive has no power “to enact, to amend, or to repeal statutes.” Clinton v. City

of New York, 524 U.S. 417, 438 (1998).

       235.    The Constitution further provides that the executive must “take Care that the laws

be faithfully executed.” U.S. Const. Art. II, Sec. 3. The Executive Branch violates the Take Care

Clause where it declines to execute or otherwise undermines statutes enacted by Congress and

signed into law or duly promulgated regulations implementing such statutes. See In re United Mine

Workers of Am. Int’l Union, 190 F.3d 545, 551 (D.C. Cir. 1999) (“[T]he President is without

                                                61
       Case 1:25-cv-01363-DLB            Document 1        Filed 04/29/25      Page 62 of 69



authority to set aside congressional legislation by executive order . . . .”); Kendall v. United States,

37 U.S. 524, 613 (1838) (rejecting argument that by charging the President with faithful execution

of the laws, the Take Care clause “implies a power to forbid their execution”). Given these

principles, where the Executive Branch overrides a statute or the legislative intent of Congress, it

violates the separation of powers doctrine.

        236.    Here, where Congress has created AmeriCorps and the programs it administers, the

Executive cannot incapacitate AmeriCorps from carrying out statutorily assigned duties by

terminating the staff AmeriCorps needs to accomplish its mission and by cutting approximately

$400 million worth of AmeriCorps programs funded by Congressional appropriations. The

dismantling of AmeriCorps thus violates Constitutional and statutory mandates, contravenes

Congressional intent, and is unlawful.

        237.    Accordingly, plaintiffs are entitled to a preliminary and permanent injunction, and

to a declaration pursuant to 28 U.S.C. § 2201, declaring unlawful and setting aside the decision to

dismantle AmeriCorps and enjoining any action taken to enforce or implement it.

                                            COUNT V
                                   Ultra Vires Executive Action

        238.    Plaintiffs incorporate by reference the allegations contained in the preceding

paragraphs.

        239.    Neither the President nor an agency can take any action that exceeds the scope of

their constitutional and/or statutory authority.

        240.    Federal courts possess the power in equity to grant injunctive relief “with respect

to violations of federal law by federal officials.” Armstrong, 575 U.S. at 326–27. Indeed, the

Supreme Court has repeatedly allowed equitable relief against federal officials who act “beyond


                                                   62
       Case 1:25-cv-01363-DLB             Document 1       Filed 04/29/25      Page 63 of 69



th[e] limitations” imposed by federal statute. Larson v. Domestic & Foreign Com Corp., 337 U.S.

682, 689 (1949).

           241.   The dismantling of AmeriCorps is contrary to law and outside of Defendants’

authority because Defendants cannot effectively incapacitate AmeriCorps by eliminating the staff

and resources AmeriCorps requires to meet its statutory obligations.

           242.   Accordingly, plaintiffs are entitled to preliminary and permanent injunctive relief

barring the dismantling of AmeriCorps. Pursuant to 28 U.S.C. § 2201, plaintiffs are also entitled

to a declaration that the dismantling of AmeriCorps is contrary to law and outside Defendants’

authority.

                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court:

      i.      Declare that the decision to dismantle AmeriCorps and actions taken to effectuate it are
              unlawful and/or unconstitutional because they violate the APA and/or the United States
              Constitution;

     ii.      Pursuant to 5 U.S.C. § 705, postpone the effective date of the decision to dismantle
              AmeriCorps and actions taken to effectuate it;

    iii.      Pursuant to 5 U.S.C. § 706, vacate the decision to dismantle AmeriCorps and actions
              taken to effectuate it;

     iv.      Preliminarily and permanently enjoin the Defendants from effectuating the decision to
              dismantle AmeriCorps;

     v.       Award Plaintiffs their reasonable fees, costs, and expenses, including attorneys’ fees,
              pursuant to 28 U.S.C. § 2412; and

     vi.      Grant other such relief as this Court may deem proper.




                                                                       Respectfully submitted,
                                                   63
     Case 1:25-cv-01363-DLB           Document 1    Filed 04/29/25     Page 64 of 69



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                                              64
      Case 1:25-cv-01363-DLB           Document 1       Filed 04/29/25      Page 65 of 69




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      Case 1:25-cv-01363-DLB             Document 1   Filed 04/29/25     Page 66 of 69



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                                               66
     Case 1:25-cv-01363-DLB           Document 1   Filed 04/29/25      Page 67 of 69



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                                            67
     Case 1:25-cv-01363-DLB          Document 1   Filed 04/29/25     Page 68 of 69




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                                           68
     Case 1:25-cv-01363-DLB          Document 1     Filed 04/29/25   Page 69 of 69



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                                            69
